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             EXHIBIT 3
       Case 5:15-cr-00034-EXE Document 164-3 Filed 11/06/18 Page 2 of 102


     NANCY V. POWELL
     N.VJOWEU,APROFESSIONAL CORP                                 MOraYANTSTOEET
                                                                 PALO ALTO, CALIFORNIA 94301
                                                                 PHONE: (650) 324-2526
                                                                 FAX: (<150)851-2943
    Februaiy8,2012

    GaiyStrutz
    Storek, Carlson &Strutz
    100ViewStreet #208
    Mountain View, CA 94041

   re: George Fiegl - Theft loss on Van Buren Estates loan

   DearGaiy,



   Mte secured by real jroperty owned by Van Buren             Ii>      ®"«?staient mapromissoiy
  does notappearthatthereisanychanceofGeoigebeingSoffoI?                    "                       "
  value oftheland goneXS ftea                                r >nade the loan in March
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 Attorney, Idoubt flat the OA's office woL consi^^K^?^' ®
 complexity. The feet that the DA would probably deSn^to                                      "i®
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Nancy V. Powell

ccGF




                                                                                    D.FIEGL-000639
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  NANCY V. POWELL                                                310 bryant street
  N.V.POWELL, A PROFESSIONAL CORP.                               PALO ALTO, CALIFORNIA 943Q1
                                                                 PHONE: (650) 324-2526
                                                                 FAX: (650) 851-2943
  February 8,2012

 Geoi^Fiegl .



 re: Loan transaction/ Van Buren Estates ($10.M)
         Theft Opinion

 DearMr. Fiegl;

 Iwant to report to you my findings and my opinion in connection with my review ofthe facts and the law regarding
 your loan to Van Buren Estates, LP. Iam relying on my over 35 years practicinglaw in California and my years as a
 Dep^ District Attorney (DDA) in Santa Clara County, California. In my capacity as aDDA Imade decisions
 regularly regarc^g whether there was sufficient evidence to file criminal charges against an individual or entity. I
 am femiliar with the standard required for filing criminal charges and the limitations imposed by budget and
 m^wer constraints in that regard. Since leaving the District Attorney's Office, I have represented many
 defendants and have seen the process fix)m that side in addition to representingvictims, such as you.
It is my opinion that you were the victim of aplanned scheme to defiaud you ofthe money you beUeved to be a
"loan" on real property in Riverside County, known as the Van Buren Estates Property (Property). That scheme was
aimplicated one which mcluded the conspiracy ofat least three individual defendants: Tom Lodato, Hank Shank
^d Christian Reimer Stukenbrock. It is also my opinion that because the scheme is veiy complicated and because
toere are civfl remedies available to you (ie suing the defendants) the District Attorney's Office would reject the case
for prosecution by their office. This does not mean that you do not have a good criminal case against those
defa^^ts. It only means that in considering the amount ofwork the case would require, the expert witnesses who
wuld be required to put on ttie case (regarding the title compai^rprocedures and value ofthe land) and the feet that
flus case does not fit the standard profile for a theft case, the District Attomqr would choose to allocate their
resources to quicker, sunpler and easier cases. Maddition, fliere is astroi^ emphasis on spsnAng District Attorney
^utcra pursuing perpetrators ofcrimes resulting in bodUy injury like muider, manslau^ter etc rafter than on
financial cnmes.

Ihave attached amemorandum which Iprepared to help lay out the nature offee theft by fiaud perpetrated against
yo^ As you can see there are many layers ofthe deceit You were both lied to and had infomiation withheld. Ifyou
had been told the truth and told all relevant infoimation which was available to the Defendants you wouldn't have
made the loan because it would have been clearthat there was insufficient value inthe property to pay you back.
Please contact me ifyou have any questions regarding the above or the enclosed




                                                                                               D.FIEGL-000640
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 Memorandum

 Issue: Was George Fiegl the victim ofa theft loss inconnection with the $10,000,000 loan he
 agreed to make toVan Buren Estates Partners, LP? Specifically, when George Fiegl advanced to
 Van BurenEstates Partners, LPthe sum of $7,200,000 under the terms ofthis loandid he do so
 based onfalse statements and the deliberate withholding of information such that hewas the
 victim of a theft? (See Exhibit 0 for loandocument.)
 Answer: Yes, George Fiegl (GF) was the victim ofatheft orchestrated by Tom Lodato (Tom) &
 Hank Skade (Hank) and facilitated by Christian (aka Reimar) Stukenbrock (hereinafter Reimar)
 such that he has a loss of$7,200,000.
 Second Issue: Isthere a likelihood of recovery ofthe$7,200,000?
 Answer: NO; GF's security interest isas a second deed oftrust behind a $10,450,000
 Note/Deed ofTrust on the subject real property (Property). That Property has apresent value of
 approximately $2,460,000 - not enough tocover the first deed oftrust Further, astothe
 individual defendants, they do not appear to have assets in their own names. Every indication is
 that they are sophisticated at hiding their assets and that GF would not be likely to recover
 damagesfrom any of them.
                                                 FACTS

        Tom &Hank bought desert land outside ofPalm Springs in 2005 in the town ofThermal,
CA. The land was undeveloped desert land (no water, sewer, utilities etc.) which was zoned
agricultural. When they bought the land they paid $11,552,000 for two parcels totaling about 164
acres. They financed the Property with $11,600,000 ofloans, (ie$48,000 more in loans than the
purchase price) SeeExhibit 1 fororiginal Deedof Trusts.
        Note: As to Exhibits attached hereto, inmaity cases only tiie cover page isattached. In most cases
        the fiill documents are lengthy. To consolidate matters for purpose oftiiis Memo thefull
       document is not attached. Ifthe reader ofthis Memo is interested in the full document,
       please request the sameof Nancy V.Powell,

      As evidenced by aDeed ofTrust dated June 30,2005 (recorded as instrument #0550575)
Tom and Hank borrowed another $1,285,000 from AGI59*^ Avenue, LLC. At this point in time
there were $12,885,000 in loans against the Property.
       By January 2006 Tom &Hank had an engineer working actively to prepare the Property
toobtain Tentative Map approval for 301 lots, zoning change and water/sewer etc entitlements.


Memo from NVP re: VBE/Theft Issue                                                      Page #1

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 In March 2006 theyborrowed another $13,000,000 against the Property from ACM (SeeExhibit
 2) Thatsame daytheyborrowed $5,425,000 from Series AGI VanBuren of Appian Group
 Investors DE, LLC. (See Exhibit 3)Appian loans arethrough a business in thesame building and
 maybe in the same office as Hank.
         At this pointin time - March2006,the Property is encumbered with$31,310,000 in
 loans. The land is raw dirt, miles from sewer and water with no entitlements and zoned
 agricultural.
         Even with allof theloans on the Property, the LLC borrows another sum (which we
 estimate was $2,175,000 based on other information but not based on land record data) from
 SeriesAGI Van Buren n (AGIH)recordedApril 20,2006.
         InJuly 2006 Earth Systems Southwest updates their analysis of theland done in2004 and
states their conclusion isthe same as itwas in2004. Their opinion isthat the land issusceptible
toliquefaction because ofthe high ground water table. (See Exhibit 4 for Report w/o Appendix)
       In2007 they formed a Limited Partnership where Tom and Hank through their LLCs
acted astheGeneral Partner ofthe Limited Partnership. The Partnership raised $10,300,000
from the limited partners by August 2007. In the Private Placement Memorandum issued by Tom
& Hankfor this Partnership, theystateon page2 that the total amount of the encumbrances on
the Property equaled approximately $21 million dollars. ThisMemorandum is dated June2007.
(See Exhibit 5for 2 cover pages ofPrivate Placement Memorandum plus pages 1&2.) At this
time thetotal loans evidenced ontheland records against the Property was at least $31million
NOT $21 million. The Property was conveyed tothe Limited Partnership by Tom and Hank's
LLCs by Grant Deed recorded 12/1/07.
        In October 2007, the Property was approved for a Tentative Map subject toworking out
water, sewer, easements etc. as applicable. ThatOctober, theengineer working forTom & Hank,
Richard Soltysiak, met withtheWater District (CVWD) andlearned thatTom & Hank had not
been told intheir Title Report about certain easement rights CVWD had over the Property and
fiuther he was advised that access and rights to water and sewer infrastructure were going to be
significantly more expensive than what they had understood/assumed. The thinking atthat time
bythe engineer acting for Tom &Hank was that it would cost anadditional $8-10,000,000 for
water & sewer andinaddition, the easement issue might require a total redo oftheTentative
Map application. (See Exhibit 6Depo ofRichard Sollysiak taken 11/28/11 pgs 51-58,64,69)
       In December 2007George was approached by Reimarto makea loansecured as a 2™'

Memo from NVP re: VBE/Theft Issue                                               Page # 2

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 Deed ofTrust on the Property. Reimar represented that he had investigated the investment
 aspects ofthe loan and determinedthat it was a sound and good investment. Reimar presented
GF with a PreliminaryTitle report (Stewart Title) which showed that the only loan on the
Property wasthe $13Mloanto ACM. (SeeExhibit7 for coverpageof Stewart TitlePreliminary
Report dated December 10,2007. The only loan shownis on page 8 ofthis Report at item #11
where the $13M owed to ACM is listed.) Further, Reimar showed GF an appraisal obtained by
Tom & Hank which asserted that the value ofthe Propertywas $40M. (See Exhibit 8 for full
appraisal as given to GF.)
        In January2008, Tom & Hank formed an investorgroup (an LLCreferredto as VBE
Lenders) to invest inthe property. They raised $10,450,000 in thatLLC which wascomprised in
part ofmembers ofthe Partnership. (SeeExhibit9 for 2 coverpages ofthat Private Placement
Memorandum.)
        It wasrepresented to GFthat the onlyloanon the Property, the $13Mloan to ACM, was
to be repaid through the escrow which recorded his Deed ofTrust and the new first Deed of
Trust from Lenders intheamount of $10,450,000. Based on these and other representations, GF
agreed to loan$lOM to be secured by a     Deedof Truston theProperty.
       Aspartof the dealwithGF, it wasrepresented to GFthat any excess proceeds from the
two loans after payment ofthe $13M loan and past due taxes would go tothePartnership to be
used to further theprogress toward getting a Final Map ontheProperty. (See Exhibit 10 Fidelity
Title Co Lender's Escrow Instructions dated March 10,2008 initialed and signed by GF on
March 18,2008 wherein it is stated onpage 2 that over $4M would gotoBorrower as an
estimated refund.)
       GFwasnevertold that therewereeasements thathadjust beenlearned abouton the
Property andthattheseeasements might require a re-do of theTentative map. He was never told
thata damages claim of over $500,000 would be asserted against Stewart Title fordamages
resulting from thefailure to inform them oftheeasements. (See Riverside County Superior
Court, IndioDivision records for case #INC 10002614) He was never told that the waterand
sewerrights weregoing to be harderto get and moreexpensive than whathad everbeen
anticipated. He was misled to believe the$40M appraisal he was given represented a fair
professional assessment ofthe value of the Property in December 2007.
       GF was deliberately misled bythe appraisal showing theProperty valued at $40M dated
December 14,2007. (Exhibit 8)The appraisal in its format was msleading andledGF to believe

Memo from NVP re: VBE/Theft Issue                                             Page # 3

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 that the Property had a current value of $40 million. The appraisal in fact was based on
 "extraordinary assumptions, hypotheticalconditions" etc which among other things assumedthat
FinalMap approval had been grantedfor the Property. The truth was that the Propertywas a long
 ways from Final Map approval. It did not have the water or sewer rights worked out nor did it
havethe zoning change fromagricultural to residential. In fact, as of January 2012, the Property
still doesnot haveFinal Mapapproval. In otherwords the appraisal was a totalfantasy.
          GFand the Lender group deposited their moneyinto escrow(Fidelity Title Co.) GF*s
payment into escrow was $7.2 million. Lender group was to make a loan of$10,450,000. In fact
ahnost $4 millionshows on the Final Closing Statement as beingpaidto Lender as somesortof
loan charge. (See Exhibit 10b.) TheEstimated Closing Statement signed offbyGF only 3 days
before escrow closing (Exhibit 10a) did notshow this"loan charge". It showed themoney being
available to the Partners for use in developing the Property. (Exhibit 10a)
          With the discrepancies in the escrow statements, an examination is next made ofthe land
records. There were three loans ontheProperty that were reconveyed within one day of receipt
ofGF's money. The original loan inthe amount of$6.4million (See Exhibit 11), thesecond
original loan in theamount of$5.2 million (See Exhibit 12) and theAGI59^ Ave loan inthe
amount of $1,285,000 (SeeExhibit 13)were all reconveyed. These loans werenot shown as
being on theProperty in documents provided to GF before he agreed to make his loanand
nowhere in the escrow instructions didhe agreed these were to bepaid from themoney he
loaned.

          The ACM $13miIIion loan was reconveyed outside of escrow months later - onMay 5,
2008. (See Exhibit 14)
          December 1,2008an Application forChanged Assessment was filed with the County of
Riverside requesting a reduction in theassessed value forCounty real estate taxpurposes. The
application(approved by Hank) assertedthat the market value ofall ofthe lots combinedwas
$7,374,150 as ofJanuary 1,2008(inother words before they took outover$20,000,000 of new
loans in March 2008). (See Exhibit 15 fora listofthe asserted value ofthe 5 parcels, the5
applications plus thepower ofattomey form completed by Hank for each ofthe 5 parcels.)
       GFaskedforan update on the status of the Property development in November 2009. To
that end, a meeting was held atthe Property where Tom and Hank assured GF that the Property
continued to support his loan. Inorder to perpetuate their fraud onGF, they obtained anappraisal
dated December 1,2009 which showed that theappraised value ofthe Property was still

Memo from MVP re: VBE/Theft Issue                                                Page # 4

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 $16,300,000. (See Exhibit 16.)This appraisal continues the fraud on GFbecause whereas that
 appraisal says theProperty was worth $16,300,000 andstates thatit is an "as is market value", if
 you look at the fine print, that appraisal assumes certain hypothetical things such astheProperty
 having a Final Map and Avenue 59 not going thru the Property. Tom caused this appraisal tobe
 delivered toGF and did not inform him (1) that he personally believed the Property was only
 worth 2/3s ofthat amount (See Exhibit 17:Tom's depo pg 60 inProperty owner's litigation
 against Stewart Title) and (2) there was no basis for assuming Ave 59 would not go thru the
 Property even though Tom had just on October 12,2009 sent his investors a Project Update
 saying that there was no basis for saying Ave 59would not go thru the Property.
        The VBE Lender loan and GF's loan both came due in March 2010. At that time GF
 learned thathis loan would notbe paidoffas scheduled andthat Tom andHank believed the
Property was worth significantly less than the encumbrances onit. With theloan indefault, GF
sought and obtained an appraisal ofthe Property from Warren &Associates. That appraisal
shows that the Property was worth only $2,460,000 inan "as is" condition on June 10,2010 and
only worth $6,555,000 inDecember 2007 - a far ciy from the $40,000,000 claimed by Tom &
Hank

                                              LAW

        TheftLosses may be takento the extentof the losswhenthe amount of the loss can be
proven, whenthe natureofthe takingis a crimeunderthe lawsofthe StateofCalifornia and
when there is no prospect of recovery. First, a lookat California law:
        THEFTGENERALLY (PENAL CODE484)
        One relevant Californiacode sectionunder whicha theft will be found is Penal Code
Section 484. The portion ofthat code as itrelates to GF is that: Every person who takes personal
property from another by false or fraudulent representation orpretense ordefrauds any other
person ofmoney orwho causes orprocures others to report falsely ofhis orher wealth and by
thus imposing upon any person, obtains credit and thereby fraudulently gets orobtains
possession ofmoney ..., isguilty oftheft. (See Exhibit 18 for precise code language.)
       THEFT BY FALSE PRETENSE (PENAL CODE 532(a))
       Another California Code section under which a theft may becharged isPenal Code
Section 532(a). Under this code section, ifa person makes a false statement in writing with the
intent that itbe relied on respecting the financial condition or means or ability to pay for the
purpose ofprocuring money, and the person knows that a false statement has been made, that
Memo from MVP re: VBE/Theft Issue                                                Page #5

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 person is guilty of a public offense. (See Exhibit 18for the full textof the above Code Sections.)
                                 APPLICATION OF LAW TO FACTS

        MISREPRESENTATIONS:

 1. Cash into Property: Tom & Hankrepresented to GFthat theyhad put $700,000 intothe
 purchase of theProperty. (See Exhibit 5) Infact, GF now knows from theloans on theProperty
 thatthey obtained loans inexcess of thepurchase price oftheProperty. (See Exhibit I)
 Effect of Misrepresentation: GF was falsely led to believe that Tom & Hank had a stake in the
 Property which would lead him to have a greater degree ofconfidence in their proceeding with
 the development.
2. Loans on Property: Tom & Hank represented to GFthat there was one loan in the face
amount of$13,000,000 on the Properly when hewas considering making his loan. They further
represented thatthat loan would be paid offwith hismoney andthe money form VBE Lenders.
Insupport ofthis fact they supplied GF with a Preliminary Title Policy issued by Stewart Title
(Exhibit 7)dated December 10,2007. That policy only showed the $13,000,000 owing toACM
as a lender encumbrance. In fact, a review ofthe land records shows that there were at least 4
loans onthe Property atthat time. The $13M one they acknowledge (Exhibit 2), the original 2
loans for$6,400,000 and $5,200,000 (Exhibit 1)andthe loanto AGI59*^ Avenue in the amount
of$1,285,000. This puts the total loans owed on the Property at $25,885,000, $12,885,000 more
than GF was told oragreed to. And this does not include the limited partners who put in$11.3
million as an investment

Effect ofMisrepresentation: GF was falsely led tobelieve bywritings supplied by Tom &/or
Hank that there were fewer encumbrances on the Property than what there were. GF was already
agreeing to bea second loan behind a $10.45million loan. He would not have agreed to bea
fourth loanbehind these additional moneys owed.
3.Proceeds ofLoan thru Escrow: Tom &JIank worked with Fidelity Title Company indoing
the paperwork, funds transmittal and recording of documents relating to GF's loan. Tom &Hank
selected Fidelity Title and were the primary persons tocommunicate with Fidelity. GF was given
anEstimated Closing Statement dated March 10,2008. He initialed and signed his approval of
the cashflowas shown on that Statement on March 18,2008. That Statement showed that after
payment ofthe outstanding loan and real estate taxes that there would beapproximately $4M
that would go tothe benefit ofBorrower (ie the LP) which GF could reasonably presume would
be used for the furtherance ofthe development ofthe Property. Infact, now that GF has obtained
Memo from NVP re: VBE/Theft Issue                                                Page # 6

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 and reviewed the Borrower Final Closing Statement, he nowknows that the $4M went backto
 VBE Lenders as some type of "loan charge" andwas notused to further thedevelopment ofthe
 Property.
 Effect ofMisrepresentation: GF took a 2°^ position as a lender on Property that started out as
 desert land zoned foragricultural use. TheProperty needed to have many different entitiements
 such assewer, water, zoning, lot line approval etc. before it could bedeveloped aswas planned.
 He did not know the extent ofthe problems and expense anticipated onthe Property but heknew
 thatthere were serious financial costs to obtaining a Final Map and relied onthe extra $4Million
 dollars going tofurther the goal ofgetting Final Map approval, fiis security inthe Properly was
significantly impairedby the diversion offlmds to VBELenders withouthis consentor
knowledge, especially because he specifically signed his approval ofthehandling of funds thru
Fidelity Title Company only3 days beforethe loansclosed escrow.


DECEPTIVE WITHHOLDING OF INFORMATION:


4.Status of^entitlements'*: GF was nottold that only months before hewas approached tolend
money secured on the Property that Tom & Hank had been told that the water and sewer costs
and options were veiydifferent andwould be much more expensive thanwhat hadbeen
anticipated. The plans tothatpoint had anticipated connecting thesewer to a system thathad
been proposed. InOctober 2007, Tom &Hank learned from their engineer, Richard Soltysiak
that they were going to have todo a veiy extensive restructuring oftheir sewer plan atsignificant
additional cost. The estimate by their engineer at that time wasthat it wouldcost an additional
$8-12 million dollars. They also atthat same time learned that the access and rights towater
would bemuch more expensive togetthan what they had anticipated. (See Exhibit 6.)
Effectof Misrepresentation: GF did not have the opportunity to assess the trueriskof his
security inthe Property because this information was withheld. If he had understood the scope of
the additional costs and problems having todo with the water and sewer systems tobe put on the
Property he would have known thatthere would be novalue intheProperty over and above other
encumbrances to secure his loan when allthe expenses to obtain entitlements were paid.

5. Soils testsshowed Property wasat risk for liquefaction: Asearly as 2004 Tom & Hank had
a soils test which showed that theProperty had a high risk for liquefying based onthe high water

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 table. Tom & Hank soughtto have the engineersrevise that report in July 2006. (Exhibit4) The
 resultwasthat the engineers stood behind theirearlierreport. Thenature andscope of the
 findings in this reportwere not disclosed to GFand his attention wasfalsely drawn to an
 appraisal that bore no resemblance to reality.
Effect of Misrepresentation: GF was misled intounderestimating the costs to develop the
Property to deal withthe instability ofthe soil and further misledinto underestimating howthe
soilscondition might impact prospective sales of theProperty andtherefore hissecurity in his
loan.



6. $4 million dollars going backto VBE Lenders: GF was specifically advised andsigned off
on Escrow Instructions which stated that the LP was goingto have $4 million dollars after
borrowing fi-om him and VBE Lenders. (Exhibit 10a) GF knew that the Property needed plans,
drawings, studies and work inorder to geta Final Map and have a more marketable property.
When GF made his loan he knew theProperty was rawdessert land. Hemay nothave known
that it wasstillzoned agricultural or that it had huge sewer andwater hurdles to overcome, but
he knew there would be expenses and he relied on the LP using the $4 million dollars in
connection withtheir borrowing to further the Property development. TomandHankevenas late
as April 2010 still asserted in a memo to an attorneyon GF's behalf that the $4 million wentto
the LP when the Final Closingdocuments show otherwise.
Effect ofMisrepresentation: GF's security was impaired by the LP essentially giving $4 million
dollarsto an investor groupcomprised mostlyofthemselves. GF wasmisledand would not have
made his investment if he had known that truth.



7. True value of Property $6,550,000: GF has hada retrospective appraisal done on the
Propertyto determine the true and correct valueofthe Property back in December 2007. That
appraisal dated 6/10/2010 was done by Warren & Associates, Inc. Itistheir professional opinion
that the Property,in an as is condition, was worth $6,555,000 in December2007. It is
noteworthy that thePartners submitted applications to theCounty asserting that themarket value
oftheProperty was $7,374,150 as of 1/1/2008 (submitted on 12/1/08) (See Exhibit 15.)
Effect ofMisrepresentation: IfGF had known thetrue value oftheProperty hewould never
have considered loaning money to besecured onit. Not asa first Deed ofTrust and certainly not
as a second behind over $10 million.

Memo from NVP re: VBE/Theft Issue                                              Page # 8

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 8. Reimar was paid $250,000 to set up GF to lendon Property; GF now knows thatReimar
 was paid $250,000 by Tom & Hank to getGF to loan ontheProperty. This financial incentive
 would makeit difficult to diligently and realistically evaluate the nature of the investment he
 was recommending GF make. This information was withheld from GF until long after the loan
was made.

        EffectofMisrepreseDtation; If GF hadknown theamoimt of the payment made to
Reimar andtherefore the incentive he hadto get GFto makethe loan, he would have at least
known thathe needed to havesome impartial due diligence done on his ownand he would not
have relied as he did onthe opinion and recommendation ofReimar. An impartial person
evaluating GF's investment risk would have concluded GF should not invest in this loaa In
addition, if GFhad known that Reimarhad a Judgment against him for securities violations he
would have known not to be as trusting ofReimar's recommendations.
9.Undisclosed Easements; complaint filed for $632,000 damages: InJanuary 2008 Tom &
Hank were wooing GF to loan to them with statements and documents to the effect that the
Property had significant value over and above theloans which would be secured ontheProperty
andindications thatall was going well in proceeding with theCounty representatives toward the
end ofgetting approval oftheFinal Map. They foiled to disclose to him that they had justin
October2007learned that there were2 easements on the Property in favorofthe CVWD that
would require a restructuring oftheir plans to date or a significant work aroundwith the CVWD.
They filed a claim against Stewart Title Company in early 2008 and assert thatthey were
damaged. Their complaint for damages filed inthe Riverside County Superior Court claims they
were damaged in the sum of$632,000. In fact they havea partial settlement in that case which
netted them $880,000. Yet, they did notdisclose theeasement issue to GF prior to hisloan and
thefirst time GF heard oftheclaim against Stewart Title was when hewas copied onthe Project
StatusReportdatedFebruary 15,2011 whichReportwas sent out by Tom.
Effectof Misrepresentation: GF would have taken intoconsideration a problem such as the
CVWD easements thatwere of nearly a million dollar magnitude inmaking hisinvestment
decision. This factor may have resulted in him deciding notto make his loan and certainly in
connection with all of the other misrepresentations and failures to disclose, he would not have
made the loaa

Memo from NVP re: VBE/Theft Issue                                                 Page # 9

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 10. Appraisal in December 2009 was used to continue to mislead GF: Tom ordered another
appraisal inDecember 2009 after hismeeting with GF at the Property where GF questioned the
value oftheProperty. (Exhibit 16) That December 2009 Appraisal said theProperty was worth
$16,300,000. That appraisal was based on assumptions Tom knew to be incorrect. For example,
in a separate statementto the limited partners,Tom on October 12,2009 communicated that
there was nobasis for saying Avenue 59would notgothru theProperty andthen permitted the
appraisalto make preciselythat assumption as ifit was fact.
Effect of Misrepresentation: GFwas led to believe that therewasstilla possibility thatthere
was value to support his loan andto nottakeaction. When GF didhave his own appraisal done
without hypothetical assumptions that were not grounded in reality thevalue ofthe Property as
of December 2007 was fixed at $2,460,000 andnotthe$40 million asserted to himbyTom &
Hank. (Exhibit 19) This later, 2009, false valuation was justanother attempt to keep GF inthe
dark so thathe would notlookfurther into all of their assertions andthe true facts relating tothe
Property.


Misc. additional factors:

11.Reimar had a prior conviction for securitiesfraud: Reimar hada complaint filed against
him in 1998 by the Stateof Idahowhereinit was allegedthat Reimar offered securities for sale
to investors andReimar knew or should have known thatthese investments or programs didnot
exist or they could not trade them in the mannerthat had been represented to investors. The
complaint further alleges that Reimarmadeuntrue statements ofmaterial fact and misleading
statementsregardinginvestmentreturn and the risk ofthe investment. Judgmentwas taken
against Reimar in April 1999. That Judgment found in favor of the State on all issues and
ordered payment of damages by Reimar and a ordered that a Permanent Restraining Orderissue
preventing Reimar from doing seciuities business in Idaho. GF did not know that there was a
1999 Judgment against Reimar for securities violations andthat he waspermanently enjoined
from many securities activities in the Stateof Idaho based on his conduct there. (SeeExhibit 20
for the Complaint,Judgmentand News Release.)
Effect of failure to advise GF regarding prior conviction for fraud: GF did not know that he
was dealing witha known and prosecuted crook. If Reimar hadbeenforthcoming about his


Memo fromNVPre: VBE/Theft Issue                                                Page# 10

                                                                                  D.FIEGL-000650
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 previous business issues and ifhe had complied with California laws and the Judgment against
 him requiring that hemake true statements and not attempt to mislead investors, then GF would
 have learnedthe true foots and he would not have made the loan that is at issue.


                                           SUMMARY

          No one factor above would besufBcient to sustain a finding that GF has been defrauded
 anddeceived byTom and Hank with theassistance of Reimar butwhen all ofthese factors are
 considered together there is theunmistakable conclusion thatGF had $7.2 million dollars taken
 from him as clearly as ifthey slipped it out ofhis pocket without his knowing it They adroitly
 used smoke and mirrors to make the Property look like something itwasn't. They lied about the
 status oftheProperly both from thestandpoint of what encumbrances were ofrecord andwhat
 hurdles needed to be overcome tobe able todevelop the Property. All ofthis was done with the
 clear purpose and intent ofconning GF into parting with $7.2 million dollars all the while they
 knew there would benolikelihood ofhim recovering these funds.
          Most certainly Tom, Hank & Reimar knowingly made false and fraudulent
 representations inorder to defraud GF ofhis money. By doing so, they committed theft under
Penal Code Section 484. Since some ofthe false statements were in writing and clearly with the
intent that the writings be relied on, they are also guilty oftheft under Penal Code Section
532(a).




Dated:
                                                  r
                                             By: Nancy V. Powell, Esq.




Memo from NVP re: VBE/Theft Issue                                              Page #11

                                                                                    D.FIEGL-000651
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 ORIGINAL LOANS lOi $6.4N1 snd $5.2M                           EXHIBIT 1

 ACM LOAN for $13M                                             EXHIBIT 2

 SERIES AGI Van Buien of Appian Group Investors loan$5.425M    EXHIBITS

 EARTH SYSTEMS SOUTHWEST SoiVLiquefacHon Report                EXHIBIT 4

PRIVATE PLACEMENT MEMORANDUM VBE LIMITED PARTNERS EXHIBIT 5
Depo Richard Soltysiak, engineer for Tom &Hank (11/28/11)      EXHIBIT 6

STEWART TITLE PRELIMINARY REPORT (Dec 2007)                    EXHIBIT?

DOZIER'S $40MAPPRAISAL 12/14/07                                EXHIBIT 8

PRIVATE PLACEMENT MEMORANDUM VBE LENDERS, LLC                  EXHIBITS

FIDELITY TITLE ESTIMATED CLOSING STATEMENT 3^0/08             EXHIBmOA

FIDELITY TITLE FINAL CLOSING STMT 3/21/08                     EXHIBITIOB

RECONVEYANCE HARBORD LOAN $6.4M                                EXHIBITll

RECONVEYANCE APPIAN MEZZ LOAN $5.2M                            EXHIBm2

RECONVEYANCE AGI 59«> AVE LOAN $1.285M                         EXHIBITIS

RECONVEYANCE ACM LOAN $13M                                     EXHIBm4

APPLICATION FOR CHANGED ASSESSMENT                             EXHIBmS

DOZIER'S$16.3M APPRAISAL 1^09                                 EXHIBITie

DEPO TOM LODATO taken 5/17/11 in Stewart Title litigation     EXHIBmz

PENAL CODE SECTIONS 484 and 532a                              EXHIBIT 18

WARREN & ASSOCIATES APPRAISAL done JULY 2010                   EXHIBITS

COMPLAINT/JUDGEMENT/NEWS RELEASE - REIMAR                      EXHIBIT 20




                                                               D.FIEGL-000652
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PROMISSORY NOTE TO GEORGE FIEGL                           EXHIBIT 0


                                                           D.FIEGL-000653
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                     PROMISSORY NOTE SECURED BY DEED OF TRUST


  $ 10,000,000                                                                        March 20,2008
      FOR VALUE RECEIVED, the undersigned Van Buren Estates Panners, LP, a California
  limited partnership with its priccipaf offices atC/O Thomas Lodato, 846 Portola Road» Suite J,
  Portola Valley. California 94028 C'Maker"), promises to pay to the order ofGeoi^ Fiegl, whose
  address is: 401 National Ave., Mountain View» CA 94043 fPayee"), the principal sum ofTEN
 MILLION DOLLARS ($10,000,000) together with interest at therate setforth below.

     Any capitalized term used and not otherwise defined in this Promissoiy Note Secured By Deed
 ofTrust (the *'Note") shall have the meaning given to itinthe Second Deed OfTrust, dated asofthe
 dale hereofamong the Maker, Payee and Stewart Title ofCalifornia, asTrustee {the "Deed of
 Trust").

         It is acknowicd^^ that: (1)theDeed of Trust encumbers certain rawland located near the
 dty ofLa Quinta, count>' ofRiverside, state ofCalifornia and more particularly described in Exhibit
 Aat^hed hereto and incoiporated herein (the ''Ptopeny'O; and (2) the Deed ofTr^ist is subject to
 the rights ofall prior lien holders, including aDeed ofTrust ofVan Buren Estates Lenders, LLC.
    Maker fijrther promises to pay to the order ofPayee interest on the principal balance ofthis
 Note outstanding af the rate offourteen percent (14%) per annum, accnung from the date hereof.
 All compuiatiGns ofinterest shall be made by Payee on the basis ofayear of365 days for the actual
 number ofdays occurring in the period for which such interest ispayable.
    The parties agree that;, coatcmpofaneously witlj the executitm ofthis Note: (a) Maker shall
 receive from Payee SEVEN MILUON TWO HUNDRED THOUSAND DOLLARS ($7,200,000)
 asloan proceeds and (b) Payee shall withhold TWO MILLION EIGHT HUNDRED THOUSAND
 IX)LLARS ($2,800,000) ofthe remaining principal ("Interest Reserve'') asinterest reserve for the
 purpose ofpaying accrued interest under tliis Note. Funds withheld in the Interest Reserve shall be
dwmed earned int^est ("Earned Interest") by Payee as accrued on adaily basis under the terms of
this Note, The amount ofany remaming funds withheld asInterest Resen'e that are not deemed
Earned Interest pursuant to the last sentence shall be deemed unearned as interest ("Unearned
Interest")                                                                                              |
                                                                                                        I

    Tlie princip^ and any unpaid Earned Interest under this Note shall be payable in foU at maturity.
The final matuziiy of this Note shall be March 20,2010, and all amounts due and payable luseunder
shall be due and payable in Ml.on such date. Payments under this Note shall be in immediately           I
available f\mds paid in U.S. Dollars.                                                                   !
                                                                                                        i


    This Note may be prepaid iu full at any time, provided, however, tlwt (a) upon prepayment
before March 20,2009, Maker .shall pay to Payee the principal, less the amount ofany Unearned
Interest that would h^ve existed ifthis Note had remained outstanding and continued to accrue
interest through and including March 20,2009; and (b) upon prepayment after March 20,2009,


CewgeRcslPNote                           Page Iof5




                                                                                    D.FIEGL-000654
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ORIGINAL LOANS for $6,4M and $5»2M                         l^CHIBIT 1


                                                            D.FIEGL-000655
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                                                                                                Cour^ty of Riverside
                                                                                                    Larry U. Uard
     STEWART TlTLE-RiversICo^                                                           Assessor, County Clerk & Recorder
         RECORDING REQUESTED BY AND
         WHEN RECORDED RETURN TO:

         John D. Frederick, Esq.
         Winston & Strawn, LLP
         101 CaliforniaStreet, 39th Floor                               M    S     U    MCE     Size   DA     PCOR   NOCOR    SUf   MSG
         San Francisco. OA 94111                                            —7t—


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                                                                                                                     wruM)   NCK6   exm




                            DEED OF TRUST,SECURITY AGREEMENT WITH ASSIGNMENT
                                             OF RENTS AND FIXTURE FILING



              This DEED OF TRUST. SECURITY AGREEMENT WiTK^SSIGNMENT OF RENTS AND
/O      FIXTURE FILING (this "Deed of Trust') isbeing executed asof this day of March. 2005, by VAN
        BUREN ESTATES, LLC, a California ilmited liability company ("Grantor"), to STEWART TITLE OF
        CALIFORNIA, INC., ('Trustee") In favor of HARBORD FINANCE, LLC, a California Ilmited liability
s3      company ("Beneficiary").

                                                    WfTNESSETH-


                WHEREAS. Beneficiary has made a loan to Grantor In the annount of Six Million Four Hundred
        Thousand Dollars ($6,400,000) (the"Loan");
€               WHEREAS, this Deed ofTrust secures: (1) thefull and punctual payment of the indebtedness
lO      evidenced by that certain promissory note dated of even date herewith (the "Note"), the final payment of
        which is due no later than September 30, 2006 (the "Maturity Date"), made by Grantor to the order of
        Beneficiary in the original principal face amount of Six Mlllton Four Hundred Thousand Dollars
        ($6,400,000) with interest thereon at the rate therein provided, together with any and all renewals,
        modifications, consolidations, and extensions of the Indebtedness evidenced by the Note, any and all
        additional advances made by Beneficiary to protect or preserve the Property (as hereinafter defined). any
        and ail future advances as may be made by Beneficiary and any other amounts required to be paid by
        Grantor under any ofthe Loan Documents (as hereinafter defined), such indebtedness, advances and
        amounts being hereinafter coilecOvely referred to as the "Secured Indebtedness;" and (2) the full
       performance by Grantor ofall ofthe provisions, agreements, covenants, and obligations contained herein or
       in any of the other Loan Documents. The Note, this Deed of Trust and any and ail other documents
       evidencing, securing or relating to the indebtedness secured by this Deed ofTrust (but excluding that certain
       Unsecur^ Indemnity Agreement executed by Grantor of even date herewith) and all renewals,
       modifications, consolidations, and extensions of such documents are herein colleciively referred toas ttie
       "Loan Documents".

               NOW. THEREFORE. IN CONSIDERATION ofthe Loan ofSix Million Four Hundred Thousand
       Dollars ($6,400,000) in hand paid, and other good and valuable consideration, the receipt and sufficiency of
       which are hereby acknowledged, and In order to secure the Secured Indebtedness and other obligations of
       Grantor set forth in this Deed of Trust and the other Loan Documents. Grantor does hereby irrevocably
       bargain, sell,transfer, grant, convey, assign, and warrant to:




                                                                                                            D.FIEGL-000656
     Case 5:15-cr-00034-EXE Document 164-3 Filed 11/06/18 Page 20 of 102


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     -'VARTT/TLE-RiV,'srs/c'a                                                                       _         Pas© I of 38
                                                                                                    Recorded in Official Records
                                                                                                          County of RXvorslde
                                                                                                              Larry U. Usrd


         RECORDING REQUESTED ^ AND
         WHEN RECORDED RETURN TO:                                                               Miniiiiiiii
        John D. Fredericks. Esq.
        Winston &Strawn. LLP
        101 California Street. 39Ui Floor
        San Francisco, CA94111
                                                                                                                      PCOR



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                                 DEED OF TRUST, SECURITY AGREEMENT WITH ASSIGNMENT                                              or
                                                      OF RENTSANDFIXTURE FILING



3      civTi mi's         "TRUST. SECURITY AGREEMENT WITtiNASSIGNMENT OF RENTS AND
       orScS                 ofTrust*) islimited
       BUREN ESTATES, LLC, a California   being executed
                                                 liability ascompany
                                                               ofthis C'Grantof")
                                                                           day oftoMarch 2005Tin
                                                                                    STEWART   by fVAN
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]h
      ThousaltS^Doto
                                       finance. LLC fSenlor Lender) has made a, loan to Grantor In the
      original pnna^l amount of Six Million Four Hundred Thousand Doilais ($6,400,000) which loan bsecured
                             'ir with ail other dccunfients
      Senio^eed of Trust, tpg^her                      Trusnevidenclr^,
                                                               on the ProA
                                                                        securingsenior  fi Se5ofSme
                                                                                  or relating to the indebtedness
      secured by the Senior Deed of Trust, collectively, the "Senior Loan Documents"); and

      ewdCTced by that certain promissory note dated of even date herewith (theP^yrnerrt of the indebtedness
                                                                                "Note") the  final oavment of
     ^K:h IS due no later than September 30. 2006 (the "Maturity Date"), made tv GraX to^
     f$SrooorJ?h
     mSifSrt,! T                     f®                                  provided, together
                                                                                                           Thousand Dollars
                                                    extensions of the indebtedness  evidencedvi/ithby any and allanyrenewals
                                                                                                      the Note        and all
     Sd                                   ^ Benefrcjaiy to protect or preserve the Property (as hereinafter defined) any
     Grartor^dt
     Grantor undw any of the Loan Documents asBeneficiaiy
                                                hereinafteranddeflned),
                                                                any other
                                                                        suchamounts  requiredadvance
                                                                              indebtedness    to be paidandbj
     amounts being hereinafter collectively refened to as the "Secul^ indeSSTarS^^^)^; w

     ^WppMBlVappwo dcalsMo Orinla llOMn DoaKi!H)ts\Ceed«fTma.Junior Fiwutoc
                                                                          1




                                                                                                                 D.FIEGL-000657
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ACM LOAN for $13M                                          EXHIBIT2


                                                           D.FIEGL-000658
                  Case 5:15-cr-00034-EXE Document 164-3 Filed 11/06/18 Page 22 of 102


                                                                                                 DOC # 2006-0164611
       STEWARTTITLE-RivaBidB                                                                      03/08/2008 M=00g
      Recording Requested By:                                                                                 Uarpy U. Uard
                                                                                                nssoosor County Clerk t Reeordar
      When Recorded Mail To:

      ACM INVESTOR SERVICES, INC.
      17 E. Sir Francis Drake #200
      Larkspur, CA 94939
                                                                                M       5   U   PAGe   SIZE      DA     POOR        NOCOR    SMF        MISC.

                                                                                    f


                                                                               J                                 1             1t                   1




      Loan No.06190912                                                          A       R   L                   COPY    LONG        REFUND   NCKQ       EXAM




                                DEED OF TRUST WITH ASSIGNMENT OF RENTS
                                            (This Deed of Trust contains an Acceleration Clause)

           This DEED OF TRUST made 02/09/2W)6, between: VAN BUREN ESTATES, LLC+VAN BUREN ESTATES H, A
     CALIFORNU UMITED LIABBLirY COMPANY, herein called TRUSTOR(S), whose address is: TIBURON
     VENTURES/THOMAS LODATO LARKSPUR, CA 94939 and ACM INVESTOR SERVICES, INC. herein called TRUSTEE,
     and ACM INVESTOR SERVICES, INC., hereto called BENEFICIARYj
-3      WTTNESSETH: The Trustor irrevocably GRANTS, TRANSFERS AND ASSIGNS TO TRUSTEE in trust, with POWER
     OF SALE, that property In the State of California, In the Oty of THERMAL, CA 92274, County of RIVERSIDE, described
fi   as:      .

           59TH AVENUE, RIVERSIDE, CA APN 7S9-08(M)lI-3, SEE EXHIBIT •♦A'», LEGAL DESCRIPTION atladied.
r        Together with the rents, issues and profits thereof, together with all rights and mterest of Trustor, to all appurtenances,
     easements, community interestsand licenses, and to oil, mineral, gas, water, water certificates, and hydrocarbon rights, leases,
     and overriding royalties therein, and all diese, whetherappurtenant, riparian or appropriative. SUBJECT, HOWEVER, to
     the right, power and authority given to and conferred upon Benefici^ by paragraph 11 of the provisions incorporated by
     reference hereto, to collectand apply such rents, issuesand profits.
     FOR THE PURPOSE OF SECURING:
     (1) Performanceof each agreementof Trustor incorporated by reference or contained hereto;
     (2) Piayment of the Indebtedness evidenced by onepromissory note of even date herewith any amounts that may become due
     thereunder, and all extensions, modiTications, or renewals thereof, to the principal sumof $13,000,000.00 executed by Trustor
     and payable to Beneficiary or order;
     (3) ]^ymeflt of all sums of money, with toterest thereon, which may be paid out or advanced by or may otherwise be due to
     Trustee or Beneficiary under any provision of this Deed of Trust.
         In the event of sale or transfer, conveyance or alienation of said real property, or anypart thereof, or any toterest thereto,
     whether voluntary or tovoluntary, Beneficiary shall have theright ofacceleration, at its option, to declare theNote secured by
     the Deed of Trust, irrespective of the maturity date expressed thereto, and without demand or notice, immediately due and
     payable. No waiver of this right shall be effective unless it is in writtog. Consent by the BeneGciary to onesuch transaction
     shallnot constitute waiverof the right to i^ulre such consent to succeedtog transactions.
         To Protect the security of thisDeed of Trust, and with respect to the property described above, Trustor expressly makes
     each of all of theagreements, and adopts andagrees to perform and bebound by each and ail of the terms and provisions set
     forth as Follows:
     1. Tokeep saidproperty to good condition and repair; not to remove or demolish anybuilding thereon; tocomplete or restore
     prtmiptly and to good and workmanlike manner any building which may be constructed, damaged or destroyed thereon; to
     keep all buildtogs, structures and other improvements now orhereafter situated on the a^ve described property at all ttoies
     entirely free of dry rot, fungus, rust, decay, termites, beetles, and anyotherdestmctive insects or elements; to pay when dueall
     claims for labor performed and materials fomished therefore; tocomjrfy with all laws affecting said property or requiring any
     alterations or improvements to bemade thereon; notto commit or permit waste thereof; notto conunit, suffer or permit any
     act uponsaid property in vtolation of law; to cultivate. Irrigate, fertilize, ftunlgate, prune,and do aO other actswhich from the
     character or use ofsaid property may be reasonably necessary, the specific enumerations herein not exchidii^ the general.
     Either Beneflciary or Trustee, or both, at any time during the conttouation ofthis Deed ofTrust, may enter upon andinspect
     said property, provided such oitry is reasonable as to time imd manner.


                                                            Page 1 of 4




                                                                                                                       D.FIEGL-000659
    Case 5:15-cr-00034-EXE Document 164-3 Filed 11/06/18 Page 23 of 102




SERIES AGIVan Buren of Appian Group Investorsloan $5.425M   EXHIBIT 3


                                                            D.FIEGL-000660
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                                                                                                                    Recorded in Official Records
                                                                                                                          County of Riverside
                                                                                                                                  Larry U. Uard
        RECORDING REQUESTED BY AND                                                                              Assessor, County Clerk & Reeord«r
        WHEN RECORDED RETURN TO:

        David G. Esces, Esq.
                                                                                                                iiUHHIini
       Law Offices of David G. Estes
       88 Kearny Street, 4'" Floor
       San Francisco, CA 94108

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                                   DEED OF TRUST, SECURITY AGREEMENT WITH ASSIGNMENT
                                                           OF RENTS AND FIXTURE FlUNG
/)
(T
                  This DEED OF TRUST, SECURITY AGREEMENT WITH ASSIGNMENT OF RENTS. AND FIXTURE
3-     FILING {this "Deed of Trust") is being executed as of this                                     day of March, 2006, by VAN BUREN
       ESTATES. L.L.C., a Califomia Innited liability company ("Grantor"), to STEWART TITLE OF
C      CALIFORNIA, INC., ("Trustee") In favor of SERIES AGI VAN BUREN OF AFPiAN GROUP INVESTORS
       DE, LLC, a Delawareseries limited liability company ("Beneficiary").

                                                                   WITNESSETH-

sO             WHEREAS, Beneficiary has made a loan to Grantor and Van Buren Estates II, L.L.C., a
      California limited liability company (collectively, "Borrower') in the amount of Rve Winffon Four Hundt^
      Twenty-Five Thousand Dollars ($5,425,000) (the "Loan");

                  WHEREAS, ACM investor Services, Inc. ("Senior Lender") has made a loan to Grantor in the
      original principal amount of Thirteen Million Dollars ($13,000,000), which loan is secured, by among
      other things, a lien (the "Senior Deed of Trust") on the Property senior to this Deed of Trust (the Senior
      Deed of Trust, together with all other documents evidencing, securing or relating to the indebtedness
      secured by the Senior Deedof Trust, collectively, the "Senior Loan Documents"); and

                  WHEREAS, this Deed of Taist secures: (1) the full and punctual payment of the indebtedness
      evidenced by that certain promissory note dated of even date herewith (the "Note"), the final payment
      of which is due no later than March 31, 2007, as may be extended (the "Maturity Date"), made by
      Borrower to the order of Beneficiary in the original principal face amount of Five MBIIon Four Hundred
      Twenty-Rve Thousand Dollars ($5,425,000), with Interest thereon at the rate therein provided,
      together with any and all renewals, modifications, consolidations, and extensions of the indebtedness
      evidenced by the Note, any and all additional advances made by Beneficiary to protect or preserve the
      Property (as hereinafter defined), any and all future advances as may be made by Beneficiary and any
      other amounts required to be paid by Grantor undiar any of the Loan Documents (as hereinafter
      defined), such indebtedness, advances, and amounts being hereinafter collectively referred to as the


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EARTH SYSTEMS SOUTHWEST SoiJ/Liquefaction Report           EXHIBIT 4



                                                          D.FIEGL-000662
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                          VAN BUREN ESTATES, LLC
                        750 MENLO AVENUE, SUITE 250
                       MENLO PARK, CALIFORNL\ 94025




                             REPORT OF
                     PRELIMINARY GROUNDWATER
                   AND LIQUEFACTION ASSESSMENT
              PROPOSED RESIDENTIAL DEVELOPMENT
                       NORTHEAST CORNER OF
                  VAN BUREN STREET AND AVENUE 60
                          THERMAL, CALIFORNIA




                                    July 14,2006




                            €> 2006 Earth Systems Southwest
            Uhautharizeduse or copyingof this documentis strictly prohibited
             without the express written consent of Earth Systems Southwest.




                                  File No.: 10185-04
                                       06-07-738




                                                                               D.FIEGL-000663
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% Earth Systems
     Southwest                                                               79-81IB Countiy Club Drive
                                                                              Bermuda Dunes, CA 92203
                                                                                       (760)345-1588
                                                                                       (800)924-7015
                                                                                   FAX (760) 345-7315



July 14,2006                                                                  File No. 10185-04
                                                                                       06-07-738

Van Biiren Estates, LLC
750 Menlo Avenue, Suite 250
Menio Park, California 94025

Attention:      Mr. Thomas Lodato

Subject:        Report of Preliminary Groundwater and Liquefaction Assessment

Project:        Proposed Residential Development
                Northeast Comer of Van Buren Street and Avenue 60
                Thermal, California

Reference:      Earth Systems Southwest, Geotechnical Engineering Report, Proposed
                Residential Development, Northeast Comer of Van Buren Street and Avenue 60,
                Thermal, Riverside County, California, File No.: 10185-01, Document No.: 05-
                07-732, dated July 11,2005.

Dear Mr. Lodato:

Earth Systems Southwest [ESSW] is pleased to present this report concerning our prehminaiy
assessment of the depth to groundwater and liquefaction potential for the site referenced above.
Note that this report was prepared for the exclusive use of Van Buren Estates, LLC. Any other
use of this report is at the sole risk of the user.

We trust this report meets your needs at this time. If we can be of further assistance, please
contact the undersigned at (760) 345-1588.

Sincerely,
EARTH SYSTEMS SOUTHWE^n



Scot A. Stormo, PG 4826, CHra04                             Craig S. Hill            301/07

Associate Hydirogeologist ^^"^^RG4e28                       CE 38234
                                  VjOv     KG2W
                                                                                 ^CAL^lS




                                                                                  D.FIEGL-000664
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4.0   Interpretation and I D i s c u s s i o n . . • . . . . • • . . 3
5.0   Limitations                                                      4

Appendix A
         Figures and Tables




                              EARTH SYSTEMS SOUTHWEST




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July 14,2006                                     1                             File No.: 10185-04
                                                                                       06-07-738

1.0     Introduction

Earth Systems Southwest [ESSW] is pleased to present this supplemental report concerning our
preliminary assessment of the depth to groundwater and liquefaction potential for the site
referenced above. The "site" consists of both a working equestrian ranch (APNs 759-080-011,
759-090-001, and 759-090-002) and undeveloped desert land (APNs 759-080-008 and 759-090-
003). The site location is depicted in Figure 1. The developed portion of the site contains
corrals, fenced pastures, fenced irrigated fields for hay production, tack buildings for horses,
storage buildings, a hay bam, several residences, and miscellaneous other storage structures.
Most ofthe corral and field areas are covered ingrass. The ranch areas are periodically irrigated.
We imderstand that theirrigated portions ofthe site are underiain by a tile drain system.
ESSW completed a geotechnical investigation for this site in October 2004. The geotechnical
investigation reportincluded logs from eightborings drilled between 16.5 feet and 49 feet below
ground surface [bgs] and four Cone Penetrometer Test [CPT] soundings to approximately 50 feet
bgs. The eight borings and four CPT soundings were widely scattered across the site (See Figiu-e
2). The boring logs indicate that groundwater was encountered as shallow as 4 feet bgs in B-5,
located in the central portion of the site, to as deep as 14feet bgs in B-2 andB-3, located in the
southern portion ofthe site. The average depth to groundwater using data from all eight borings
was approximately 10 feet bgs. It should be noted that there is a 10-foot or more variation in the
elevation of the ground surface on-site, andthat thevariable depths to groundwater werepartly a
function of the surface topography. The relatively shallow depth to groundwater combined with
the loose nature of fine-grained sediments under the site caused ESSW to state in the
geotechnical report thatthepotential ofliquefaction wasconsidered very high.
2.0    Purpose and Scope of Work

Thepurpose of this investigation was to confirm and refine theinformation concerning thedepth
to groundwater, and reassess the potential for liquefaction to occur during a seismic event. The
scope of work involved the following:

 1.    The County of Riverside Department of Health was contacted to obtain well permits for
       the site. Due to the temporary nature and shallow depths of thepiezometers, the County
       indicated thatwell pennits were not required.
 2.    Coachella Valley Water District [CVWD] records were reviewed to investigate the
       locationand deptliofthe drainageand storm-watertile system at the site.
 3.    Water-level observation wells (alsoknown as piezometers) were installed on June 2 and
       5 to a nominal depth of 15 feet in twelve locations within the site. Eight of the
       piezometers were completed as close as practical to the ESSW geotechnical borings. The
       other four piezometers were drilled near the CPT soundings. Since the borings were
       located in the immediate vicinity of previously logged borings, soil samples were not
       collected during piezometer installation to save time and cost. The soils encountered in
       the borings were logged from the cuttings exhumed during drilling.



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   4.   The piezometers were constructed of 2-inch diameter PVC pipe witli 10 to 15 feet of
        slotted interval extending from 5 feet bgs to the base ofthe boring. Blank PVC pipe was
        used from 5feet to ground surface. An additional 5feet of pipe was left sticking up
        above the ground surface so that the piezometers would be easy to find. The annular
        space was backfilled with Monterey Sand #3, or equivalent, to at least 2 feet above the
        top of the screen interval. A minimmn 2-foot thick layer ofbentonite pellets was placed
        above the sandpack to isolate the test interval from the rest of the soil column. The well
        casing was cemented into place, in accordance with State and County regulations, to
        protect the well from infiltration of surface contaminants. The wells were fitted witli a
        locking, screw-on cap.

  5.    The piezometers were surged during orsoon after installation toincrease the connectivity
        of the piezometer to the aquifer.

  6.    The depth to water was measured in each piezometer on June 5 and June 12, 2006.
        Because some of the piezometers hadbeen installed on June 5, only the June 12 data was
        used in the evaluation. The water levels were measured to an accuracy of0.01 foot using
        a water level measuring sonde. The top ofthe well casing was used as the reference point
        for these measurements. The heigjit of the casing above the ground surface was also
        estimated at each location,and rangedfrom 5 to 5'>4 feet.
  7.    Theelectrical conductivity of the groundwater in each piezometer wasmeasured on June
        12,2006. The conductivitymeter was cdibrated before use.

  8.    Tlie elevations ofthe piezometers were proposed to be surveyed by a licensed surveyor to
        allow for accurate groimdwater flow direction evaluation. However, the surveyor did not
        perfonn their task in a timely manner. Therefore, ground surface elevations were
        obtained from Tentative Tract Map 34556, which has a 1-foot contour interval. The
        acciu-acy of our measurement is assumed to be about ± V2-foot. These values were used
        to convert the depth-to-water measurementsto groundwater elevation values.

  9.    The data obtained from the water level measurements were going to be used to re-
        evaluate the potential for liquefaction. However, the depths to groundwater measured in
        this project were not significantly different than the values used in the ESSW
        geoteclmical report, and therefore the liquefaction potential wasnotre-evaluated.
 10.    This report has been prepared to document our activities, findings, conclusions, and
        recommendations.

Note that the original scope of work included destroj^g the peizometers after an appropriate
number of gromidwater measurements had been collected. This will include pulling the PVC
piping out ofthe ground, over-drilling the borehole to 5feet bgs, and backfilling with bentonite
shiny to grade. The piezometers have not been destroyed as ofthe date ofthis report, but can be
upon tlie verbal direction of the client.




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3.0      Findings


Soils were observed to consist of sandy silts and silty sands, consistent with the soil types
observed during the geotechnical investigation in 2004. Groundwater was encountered during
drilling at depths of between 7 and 13 feet, generally consistent with the geotechnical
investigation except that groundwater was only 4 feet deep in one of the borings in 2004. Tliat
boring (B-5) waslocated near the center ofthe site, in an areathatwas actively being irrigated at
tliat time. Duringthis current evaluation, groundwater was found at a deptli of 11.5 feet at tliat
location (P-5). We suspect the shallower groundwater in 2004 was related to the irrigation that
was occiuring at that time.

The depth to groundwater in the piezometers on June 12,2006, as measured from the top of the
casing, is summarized in Table 1. Table 1 alsopresents information concerning theelevation of
the ground surface (as obtained from tlie Tentative Tract Map), the height that the well casing
sticks above the ground, and tlie conversion of tlie depth to groundwater information into
groundwater elevation readings. Two sets of elevationsare provided; the first is based on Mean
Sea Level [MSL], and the second is MSL plus 500 feet to avoid negative numbers. The
discussion presented in this report will use the +500 feet values. The conductivity readings for
tlie piezometers are also listed. The groundwater elevation data are also presented graphicdly in
Figure 3.

As shown in Table 1, the depth to groundwater measured in the piezometers ranged from 6.1 to
13.6 feet below ground surface. Therefore, the computed ground surface elevations ranged from
392.5 to406.5 feet. Groundwater elevations ranged from 386 to 395 feet. (Note that the
groundwater elevations have been rounded to the nearest foot to reflect tlie uncertainty in the
ground surface elevation). Areas with the greatest depths to groundwater coincided with areas
with the highest ground surface elevations, so that the groundwater elevations were more
uniform than would be suggested by the depth to water data. The groundwater elevation in the
middle oftlie site isrelatively flat with a gentle slope to the east while the groundwater along tlie
northern and southern boundaries is several feet higher inelevation (see Figure 3). Groimdwater
in the site vicinity generally slopes to the south-southeast, toward tlie Salton Sea, so the on-site
gradient fits the regional gradient in the northern half of the site but does not fit the regional
gradient in the southern half of the site (and particularly at piezometers P-10 and P-11 in the
southern-most portion of the site).
The conductivity readings were similar in 10 of the 12 piezometers, with values ranging from
1,450 to 4,330 uS/cm. The other two piezometers, P-10 and P-ll, had conductivity values of
26,700 and 21,200 uS/cm, respectively, indicating this water was significantly saltier.
4.0      Interpretation and Discussion

It is our opinion that the relatively flat groundwater gradient in the central portion ofthe site is an
artifact of the agricultural tile-drain system, which serves to drain water from the soil.
Groundwater in an area with a tile-drain would be lowered toward the level of that drain. Tile
drains ^e typically 7 to 10 feet below the ground surface and slope toward a property boundary.
In this instance, thetile drain is suspected to slopeto the east.



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The higher groundwater level in the northern-most piezometers (P-12) is likely due to a
combination of recharge from the adjacent agricultural field, the lack of tile drains on the site in
tliat area, and the probable presence of a different (higher) drainage system on the adjacent
property. The higher groundwater level in the southern portion of the site is likely due to water
from another source being recharged in that vicinity. This interpretation is supportedby the high
conductivity values obtained in those two piezometers (P-10 and P-11).

Development of tlie site will likely include the removal of the tile drain system, as well as
cessation of irrigation activities. These changes will have opposite effects on the groundwater,
and together may combineto either raise or lower the uppermostgroimdwater table. Residential
irrigation by the future residents may also cause a rise in the groundwater table. Therefore,
installing subsurface drainage should be considered during development. Ground surface
elevations are expected to change as part of grading activities. This will affect the depth to
groundwater even if the groundwater elevation does not change. We do not have detailed
grading plans, and therefore cannot comment on the anticipated depth to groundwater after
grading is completed. It should be noted that the groundwater elevations in P-10, P-11, and P-12
already exceed the current.ground surface elevation in theeastern-central portion of tiiesite.

Re-evaluation of the liquefaction potential was originally requested tobe included in thescope of
this project. However, the groundwater depths observed during this investigation were not
significantly deeper than observed in 2004, and a re-evaluation would not have altered the results
beyond tlie degree of uncertainty inherent in the analysis. Therefore, we believe the original
liquefaction evaluation is still valid. It should be notedthat the liquefaction evaluation estimated
ground subsidence to be as much as 4.6 inches, with a differentii building settlement ofabout
VA inches. Otiier groimd surface disruption, including cracking and soil boil formation, were
also identified as a potential constraint.

Several mitigation strategies were discussed in thereferenced geotechnical report with regards to
the liquefaction issues, groundwater, potentially expansive soils, and other geologic constraints.
Some or all of these issues affect most of theproperties in thevicinity of the subject site(and in
the eastern part of the Coachella Valley) to varying degrees. Many mitigation strategies for
similar geologic constraints have been successfully implemented on other projects in the site
vicinity. ESSW has successfully mitigated, and is aware of others who have successftilly
mitigating these types of constraints to thesatisfaction of thegoverning agencies onproperties in
the site vicinity. These mitigations have involved one or more of the methods described in the
referenced geotechnical report. The choice of mitigation strategy is dependant on several
factors, including cost and design limitations. It is beyond thescope ofthis current investigation
to evaluate which of these mitigation strategies would be most appropriate for the subject site.
The selection ofthe appropriate mitigation strategy should be discussed bythe entire design team
(engineers, arcliitects, planners, etc.), since non-geotechnical factors may play an important role
in the selection.

5.0     Limitations

Tlie lack of surveyed elevations is one of the limitations affecting this investigation, and hmited
our ability to provide groundwater elevation corrections with the accuracy we prefer (+/-
0.01 feet). However, given the relatively large size of tlie site and the change in groundwater
elevation across the site of several feet, we believe the accuracy obtained wassufficient to meet
                                     EARTH SYSTEMS SOUTHWEST




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the needs of this investigation. If a more detailed investigation of the groundwater flow is
desired, or if a more precise groundwater elevation evaluation is desired, the elevations of the
piezometers should be surveyed.

This report has been prepared for the exclusive use of Van Buren Estates, LLC. Tne conclusions
and recommendations rendered in this report are opinions based on readily available information
obtained to date within the scope of the work authorized by the client. The scope of work for
this project was developedto addressthe needs ofthe client and may not meet the needs of other
users. Any other use of or reliance on the information and opinions contained in this report
without the written authorization ofESSW is at the sole risk of the user.

The results contained in this report are based upon the information acquired during the
investigation, and may include information obtained from third parties. ESSW makes no claim
as to the accuracy of the information obtained from others. It is possible that variations exist
beyond or between points explored during the course of the investigation, and that changes in
conditions can occur in the future due to the works of man, variations in rainfall, temperature,
and/or otherfactorsnot apparentat the time of the field investigation.

Tlie services performed by ESSW have been conducted in a manner consistent with the level of
care and skill ordinarily exercised by members of our profession currently practicing under
similarconditions in the site vicinity. No warranty is expressed or implied.


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                                   EARTH SYSTEMS SOUTHWEST




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PRIVATE PLACEMENT MEMORANDUM VBE LIMTTED PARTNERS EXHIBrT 5



                                                          D.FIEGL-000671
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PKIVATE PLACEMENT MBMORANDUM                                                           CONFIDENTIAL

                         Van Buren estates Partners, L.P•
                           Up to $11,000,000 of Limited Partner Interests
                                  Minimum Subscription: $100,000

                                            General Partners:
                   Van Buren Estates, L.L.C. and Van Buren Estates H, LX.C.
                                         846 Portola Road, Suite J
                                     Portola VaUey, California 94028
                 Telephone: Thomas E. Lodato at650-207-6063 or 650-365-0673
                                    or Henry Skade at 415-461-2811
        FacsimOe- Thomas E. Lodato at 650-851-2506 or Henry Skade at 415-4^936
      E-MaU; Thomas E. Lodato at «i«^at-iglaoLcom or Henry Skade at hs|cade(aiaol.coni
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  FACTORS."

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                                                              Offi^eeName:



                       The date ofthis PrivatePlacement Memorandum is June 26,2007




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Private Placement Memorandum                                                               Confidential


                          Van BtJREN Estates Partners, L.P.

                            Up to $11,000,000 ofLimited PartnerInterests
                                    Minimum Subscription: $100,000


  THESE SECURITIES ARE SUBJECT TO A HIGH DEGREE OF RISK.                                        SEE "RISK
  FACTORS."


  Van Buren Estates Partners, L.P. (the "Partnership") owns the fee interest in the mostly undeveloped
  Property which is near the City ofLa Quinta in the Coachella VaUey in Riverside County, CaUfomia.
  The Probity is described in Appendix Uand Schedule BofExhibit Aofthis Memorandum. The General
  Partners have procured certain eutitleraents, and intend to procure additioaal entitlements, for the Property
  and then to sell the Property. The Partnership's principal objectives are to obtain appreciation through
 ' increases in the value ofthe Property and to make cash Distributions to Limited Partners, to the extent of
   Cash Available for Distribution. The Partnership cannot assure investors that these objectives wUl be
  attained. See "Business," Appendix 11 and "RiskFactors."
  Jnitially, Subscription flmds will be deposited in aspecial deposit account. Interest received, ifany, on
  the fimds in the special deposit account will be paid to the respectiye subscribers. Ifless flian $9,000,000
  (the "Minimum Offering") is subscribed by the Offering Termiaation Date, all Subscription fimds wiU be
  reUnned to the subscribers promptty with any interest paid on such funds. Ifthe Minimum Oprmg is
  achieved before the Offering Termination Date, die General Partners may close the special deposit
  account, admit Limited Partners and commence Partnership operations. Thereafter, the General
  may deposit additional Subscription funds directly into the Partnership's general account See "Plan of
  Distribution."'

  These securities are subject to restrictions on transfer and resale and may not be transfened or resold
  except as permitted under the 1933 Act and applicable state securities laws, pursuant to registration or
  exemption therefrom.

  TTie information in this Memorandum is furnished on aconfidential basis exclusively for your ^e and
  retention, and by accepting this Memorandum, you agree not to transmit, reproduce or make available to
  any other person (other th^ your legal, tax, accounting and other advisers) aU or any part of^s
  Memorandum without the General Partners' express written permission. Notwithstanding anythmg
  herein to the contrary, however," you (aod each ofyour employees, representatives or other agents) may
  disclose to any and all persons, without limitation of any kmd, the tax treatment and tax struchue ofthe
  Partnership and any transactions described herein, and all materials of any kind (includmg opuuons or
  other tax analyses) that are provided to you relating to such tax treatment and structure. This
  Memorandum contains information about the Partnership that investors ought to know before they decide
  whether toinvest. Please read it carefully and retain itfor future reference.


                    Van Buren Estates, LX.C. and Van Buren Estates0,.L.L.C.
                                          Portola Valley, California




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Depo RichardSoltysiak^ engineerfor Tom &Hank (11/28/11)    EXHIBIT 6


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Richard Soltysiak                                                November 28,        2011
                                                                                           1

           SUPERIOR COURT OF THE                  STATE OF CALIFORNIA

          FOR THE COUNTY OF RIVERSIDE,                     INDIO DIVISION


     VAN BUREN ESTATES,             LLC,    a
     Limited Liability Company;
     VAN BUREN ESTATES II,             LLC,
     A Limited Liability
     Company; VAN BUREN ESTATES,                           No.    INC
     LP, a California Limited                              10002614
     Partnership,

                        Plaintiffs,

                 vs.


     STEWART TITLE OF
     CALIFORNIA,       INC.,    a
     Corporation; STEWART TITLE
     GUARANTY COMPANY,          a
     Corporation, and DOES 1
     through 20,
                        Defendants.




                                    DEPOSITION OF

                               RICHARD SOLTYSIAK

                               November 28,             2011
                                      9:49       a.m.



                225 South Lake Avenue,                   Suite 1400
                          Pasadena,             Cali fornia




   Matthew Silvas,        CSR No.          12929

                                                                 Toll Free: 877.342.5600
                                                                 Facsimile: 310.286.0276

                                                                              Suite 500

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      Richard Soltysiak                                   November 28,         2011
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 1                  THE WITNESS:    That's when I got the physical
 2      copies.     I was told by CVWD a couple weeks prior to
 3      that.     I set a meeting with them to launch the
 4      design -- the final design of the project.             As we
 5      indicated, the planning commission had been done with
 6      this, and it went to the board of supervisors.                And
 7      the last remaining item to be attended to by
 8      discretionary approval would be the zone change.                  So
 9      I wanted to get a leg up on getting the design going,
10      and I set a meeting with CVWD just to do some
11      housekeeping.     "How do you want the thing submitted?
12      What would you like to see," blah, blah, blah, and
13      they said that there's an issue now with the map.
14                  MR. RICE:   This is after the tentative map
15      was approved?
16                  THE WITNESS:    The tentative map was
17      approved.     In fact, we had submitted -- concurrently
18      submitted an application to phase the map, because we
19      had a 301 lot subdivision, and the concern on the
20      owner's part is builders with that kind of appetite
21      were very limited, so let's phase it so they can take
22      the project down, you know, in pieces.          So we
23      submitted an application for that.
24                  We went over to CVWD, and they said, "You
25      got" -- they alerted         I don't want to say "alerted

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          Richard Soltysiak                                   November 28,         2011
                                                                                       52

     1      me," but several problems cropped up in that same
     2      meeting, relating to infrastructure and whatnot,
     3      servicing the site. And this ag and irrigation was
     4      one of the -- two of the items.
     5      BY lyiR.   LIN:

     6           Q.      Okay.   And the -- this meeting, do you
     7      recall when i t occurred?
     8           A,      I sent you an e-mail on it.      I'm -- mid- to
 9          late October.

10               Q.      When did you first receive notice of the R/W
11          Notices with the irrigation lines?
12               A.      Exhibit 3.

13               Q.      Okay.   So you received notice of all these
14          documents for the first time in this e-mail?
15                       MR. RICE;    October 31st, 2007 e-mail?
16                       THE WITNESS:    Yeah.

17          BY MR.     LIN:

18              Q.       Okay.   Now, who is Kelly Rain?
19              A.       Right-of-way over at -- she's a
20          right-of-way -- she works in a right-of-way
21         department at CVWD.
22              Q.      Who is Joe Jocelyn?
23              A.      He worked in the -- if I needed to receive
24         supporting documents, plans, or in this case --
25         actually, she handled the right-of-way.           The plans.

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      Richard Soltysiak                                   November 28,          2011
                                                                                     53

 1       he was the guy back then who would e-mail you plans
 2       within --we talked about that index map.             He would
 3       go to those index maps and say,        "Well, this is what I
 4      need to send to use as guide the ship information out
 5       of the request."
 6           Q.     You testified earlier that you received ag
 7      drain plans in 2006; correct?
 8           A.     I'm guessing, yes.
 9           Q.     Did you also receive irrigation plans from
10      the Coachella Valley Water District?
11           A.     Yes.

12           Q.     During the break, can you find those plans
13      for me on your computer?
14           A.     Yeah.     I can e-mail them to you.
15           Q.     Yeah.     That would be great.
16                  When did you notify the principals of Van
17      Buren, Hank Skade and/or Tom Lodato, of the ag drain
18      easements?        That's the Bozarth and Strickland

19      easements.

20                  MR.    RICE;   Assumes facts not in evidence

21      that that's who he communicated with.

22                  You can answer, if you spoke to them
23      directly.
24                  THE WITNESS:     Yeah.   The fact of the matter
25      is, I may not have personally told them about this.

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      Richard Soltysiak                                   November 28, 2011
                                                                                    54

 1       and there's a couple reasons as to why.          One of the
 2       reasons is -- well, let's go back to this October
 3      meeting.    And, again, my thought in setting this
 4      meeting is to get the plan check process -- get the
 5      design and plan check process going and accommodate
 6      CVWD in an efficient manner.

 7                 So there's an owner's representative on the
 8      project, Steve Kleeman.       And Steve was going to
 9      attend the meeting with me.        We always meet together.
10      And there's a couple reasons why.         He likes having
11      several sources of memory at meetings and whatnot,
12      you know, because human nature, you miss something,
13      but the other guy picks up on it.         He couldn't make
14      it to the meeting because he had a conflict with
15      another meeting.      So I soloed the meeting.         And I got
16      pistol whipped in this meeting, because there were
17      numerous issues that came out, not only the
18      facilities we're talking about today, but the sewer
19      infrastructure issues, water infrastructure issues,
20      and requirements for a tank site that they started
21      throwing at me.
22                 So needless to say,     I was in semi-shock
23      because I'm looking forward to moving the proj ect
24      forward, and now I'm going backwards.          And it's the
25      type of thing where we don't --we met with CVWD for

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      Richard Soltysiak                                   November 28,          2011
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 1       sewer and water infrastructure.         How do you service
 2       this site, you know.      And so there's that force main
 3       we just talked about.      The direction I received was
 4       on a temporary basis, tie into that force main.
 5       You'll need a temporary lift station, because it's a
 6      pressure facility, as we talked about, and just tie
 7       along the frontage, and then build a dry sewer on the
 8       frontage, so in the future somebody could connect to
 9       it.   We're done with our infrastructure, pave, move
10      on.


11                 And then in terms of water connection, we
12      were supposed to tie into Avenue 58 and Harrison
13      Street.    This is all based on meetings and whatnot,
14      because you have to have a handle on this stuff
15      because i t relates to cost-site-infrastructure cost.
16      So over a period of time during the tentative map
17      process, the County has a series of meetings that
18      they call tactical review committee meetings, and all
19      these various agencies that have had maps distributed
20      to them, sit at a table and tell you, "Okay.               Here's
21      what you have to do to move forward in order for us
22      to approve your project."        And as time goes on,
23      people get checked off, planning staff approves the
24      project to go to a public hearing.          They obviously
25      don't want a project to go to public hearing and have

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                                                               D.FIEGL-000680
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          Richard Soltysiak                                   November 28, 2011
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     1       chaos in a public hearing where an agency gets up and
 2           says, "We don't like this."       You try to minimize
 3          those types of occurrences.        You'll get it from the
 4          public, because, you know -- as we all know,
 5          spontaneous reaction from the public for whatever
 6          reason, but you try to keep it as tidy as possible to
 7          keep it in-house, meaning the agency, and resolve
 8          them up front.      So that's why we meet with CVWD to go
 9          over, "Okay.      We've got points of connection, blah,
10          blah, blah."      They check it off.
11                     I go to this meeting, and all of a sudden,
12          they turn the tables on me, water tanks, "You have to
13          go a mile a find a sewer."        It suddenly gets
14          dependant on a piablic works project that hasn't been
15          designed yet.     Mainly you have to run down Van Buren
16          Street to Avenue 62.      Avenue 62, major CIP $8 million
17          facility they're supposed to build.          Now, all this is
18          up in the air because they haven't designed it.
19                     Remember I was just saying that our
20          understanding is on a temporary basis, we tie into
21          this force main and we build a dry sewer on the
22          frontage for someone to connect to in the future for
23          future use, because it's not going anywhere until all
24          this big infrastructure gets built.         And then in the
25          same type of thinking, they're telling us to go all

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                                                                   D.FIEGL-000681
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     Richard Soltysiak                                    November 28,          2011
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 1      over the place with an 18-inch waterline, tying to
 2      Harrison at Avenue 58; but that may not be adequate
 3      from a loop system and all this kind of stuff.                 And
 4      then, "Hey, we have pipe facilities running down the
 5      middle of your lots."       So I'm in a state of shock
 6      because I'm like,      "How did we get this far?"
 7                 So I   communicate with Steve Kleeman,
 8       "Houston, we have a problem here."         So I probably
 9      didn't -- I    didn*t call Hank and Tom, because there

10      is no way I would call them up and say, "We have a
11      problem.    What are we supposed to do," because I'm an
12      engineer that's supposed to solve problems.              And I'm
13      not going to get many future contracts if I give my
14      clients coronaries without a        solution.

15                 So what we determined, Steve and I, because
16      we're working together, was. Okay            first of all,
17      Steve is like, "Well, you better make sure you didn't
18      screw this up, you didn't miss these easements."                   And
19      I'm no different than any other human, my first
20      reaction is,      "Man, I better go check this because
21      this is bad because it is destroying our map because
22      we have a series of residential lots with pipelines
23      running under them."       So we attempted to set meetings
24      with CVWD, because this was the meeting -- the
25      roundtable discussion where everyone took a punch at

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                                                               D.FIEGL-000682
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          Richard Soltysiak                                   November 28,             2011

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             me, basically.     "You have water tank," this that.
             They're basically destroying the project, in my mind.
     3       I'm looking forward -- you know, work is starting to
     4      go down.     I'm looking forward to moving forward with
     5      the project, and all of a sudden the agency is
     6      destroying it    the viability of it by saying all
     7      this infrastructure and these pipelines running down
     8      the middle.

     9                 So we wanted to do the research, find out if
10          I didn't make a mistake or not with respect to the
11          irrigation. I mean, the water tank and all that kind
12          of stuff, that was just thrust upon us, but the
13          easement issue was obviously a major player in this
14          too. So let's gather our thoughts, do the research,
15          get back with CVWD with a select group to scratch our
16          heads and say, "Hey, how did you guys sign off on
17          this map?"    Of course, they're a big agency, they
18          don't care, you go fix it type of deal.          But how are
19         we going to fix it? Are we going to redo the map.
20         But if we do that, we're going to have to go back to
21         the Vista Santa Rosa Community Counsel, and they're
22         a -- not an easy group to contend with.
23                  And then if we do go to them, we're going to
24         have to go through the whole map process again. So
25         after -- the principals paid a lot of money to get

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      Richard Soltysiak                                   November 28, 2011
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 1      miss something that's in there that just destroyed
 2       this project.     That puts me in a pickle.
 3                  Once you put that aside, I got the tank
 4      issues.     I mean, this is big-buck stuff, you know,
 5      off-site sewer, off-site water.         So I got a whole
 6      bunch of moving parts going in this meeting.               So,
 7      again, I definitely called Steve immediately to say,
 8      "Hey, this is bad.       I wish you were here to hear this
 9      because we have to figure out what we're going to do
10      here to salvage this thing."
11      BY MR.    LIN:

12           Q.     So aside from the easements -- the ag
13      easements -- agricultural easements and the
14      irrigation easements, the Coachella Valley Water
15      District also raised issues with the tank -- water
16      tank?

17           A.    Yeah,   They started saying, "Okay.           You guys
18      either need to build or pay a fair share into a water
19      tank, because we're at our limits here as far as what
20      we can provide to this property."         And the point
21      being is this is new information, you know.             This
22      isn't something I said, "Well, we'll worry about this
23      later."    This is big-time stuff that just came up.
24          Q.     So we've got water tank issues.         We've got
25      off-site sewer issues?


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          Richard Soltysiak                                   November 28, 2011
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     1       thing because of this caving in.         You may have to go
 2          a couple few miles to the east to our sewer treatment
     3      plant, but you have to build a full-size line."                  And,
 4          again, that's $8 million, $12 million worth of work.
 5          And with 301 lots, you're going to have a hard time
 6          sustaining that load.       So that's what I'm dealing
 7          with at the time.

 8                     So Hank and Tom aren't -- how do I put
 9          this -- they're not -- they hired Steve and me to fix
10          things, you know.      It's an investment for them, Van
11          Buren Estates.      So for me to call them up and say,
12          "Oh, my God.      What do you want me to do," it wouldn't
13          be appropriate for my client, to drop this.              They
14          need solutions.

15                     So it took a while to weed through all this
16          stuff.    Because in some cases, sewer and ag
17          relocations are related because they're gravity
18          facilities and they run through the site.            We can get
19          into the details, if you're interested in that.                 So
20          there's a relationship with all these moving parts.
21          So it took some time for me to digest.          And, again, I
22          wasn't the owner's representative.         It wouldn't have
23          been appropriate for me to bypass Steve Kleeman and
24          just start calling these guys, because he's their
25         boots on the ground.       So I definitely called him, no

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STEWART TnXE PRELIMINARYREPORT (Dec 2007)                  EXfflBIT7



                                                          D.FIEGL-000686
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                                               rStewarf
                                                  —'title of California

                                                         Sanclity of Cuiiiracl

                                 STEWART TITLE OF CALIFORNXAr                                       INC.,
                                                INLAND EMPIRE DIVISION
                                       3403 TENTH STREET, SUITE 400
                                              RIVERSIDE, CA 92501
                                                       (951)      276-2700               vmw,stsales.com

                                     MEMBHR CALIFORNIA LANDTri Lli ASSOCIATION

                                            PRELIMINARY REPORT

VAN BUREN ESTATES
750 MENLO AVENUE #250
MENLO PARK. CA 94025
Attention: TOM LODATO



Order Number: 5IU19246                                                      Your Reference: VAN BUREN ESTATES




 In response lo liie abovereferenced application for a Policyof Title Insurance. StewartTitleof California. Inc. hereby
 reports that it is prepared to issue, or cause to be issued, as of the datehereof, a Policy or Policies of Title Insurance
 describing ihe land and the estateor interestthereinhereinafterset forth, insuringagainst losswhich maybe sustained
 by reason of any defect, lienor encumbrance not shown or referenced to as an Exception on Schedule Bor not excluded
 from coverage pursuant to the printed Schedules. Conditions, and Stipulations of saidPolicy forms.

 The printed exceptions and exclusiotjs from the coverage of said policy or policies are set forth in the attached list.
 Copies of tliepolicy forms should be read. They are available from theoffice which Issued this report.

 Please read the exceptions shown or referred to below and the exceptionsand exclusionsset forth in Exhibit A of this
 report carefuiiy. The exceptionsand exclusions are meant to provide you with noticeof niatters which are not covcrcd
 under the terms of the title insurancepolicyand should be carefully considered.

 It is important to note that this preliminary report is not a written representationas to the condition of title and may
 not list all liens, defects, and encumbrances affecting title to the land.

 Thisreport, (and anysupplements or amendments thereto) is issued solely for the purpose of facilitating the issuance of a
 policy of title insurance and no liability is assumed hereby. If it is desired that liability be assumed prior to the issuance
 of a policy of title insurance a binderor commitment should be requested.

     Dated as of December 10, 2007 at 7:30 A.M.
     Print date: December 13, 2007
                                              Updated
     MIKE REEVES. Title Officer
           637-2769 Fax; (951) 276-2306




                                                                                                                D.FIEGL-000687
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DOZIER'S $40M APPRAISAL 1:^4/07                            EXHIBITS


                                                           D.FIEGL-000688
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                                    DOZiER APPRArSAL COMPANY
                                    Resort and Urban Property Appraisbra
                                     y^luntion and Finnnciai Consultants


                                                  73-350 l&L J'ASEO. SUfTE 206
                                               PALM DESERT. CALIFORNIA ^7260


 RAYMOND L DOZIER, MAI                                                                         TEL. mO> 775-l2im
 CERTIRED OENERAL APPRAISER                                                                     FAX (760) 77W917
 LICENCE i/AGMMSQII                                                              E-MAtL Po»uRipiinil5ti}@dE.iT.cuin .


    Deceijibcr 14,2007

   Mr. Tom Lochilo
   750 Menlo Avenue, Suite 250
   Menlo, CA 94025

   RE:       "A,v y.v " Market Vaim Appraiml ofi63,87 Giuu Acfvs of VacantLand heated au the. Northeast
             ConK'r ofAvenue60 and Fan Buren Sn-eet ntcrmal, Cct/Ifonm 92274,

   Mr. LocIqIo:

   Enclosed i.s the luncnded"AS IF ENTITLED" MAR.ICET VALUE appmisnl of 1C3.S7 Gross Acres oF
   Viicnnl Land located on Ihe Norlheast Corner of Avenue 60 and Van Buren Strenl, Tlicnrial, CA 92274.
   This lelieris Incoiporatijig by reference (heoriginal "AS IS" Maiicej Value nppmisal of 163.S7 Gross
   Acrcs of Vacant Land localcd on the Norllicast Corjicr of Avenue 60 and Van Buren Street Tliernia!,
   Califomiii 92274, doted December 4, 2007 Dozicr Rle#07-IS6-LHP. This appraisal was mode at (he
   request andagreement beiwcen Mr. Tom Lodalo and Dosuer Appraisal Company. Mr. Lodatx) u? the
   client and intended user of this report'.

   The purpose of this appraisal is toestimate tlie"As Is^' Morket Values of theReal Properly Inleresl of Ihc
   subject^s 163.87 gross ncrcs ofVacant Lund as if .<iold toa single purchaser asof(he apprai.ser^s dale of
   inspeoiion DecerobBr 4,2007. In the**iis is"scenario, theproperty vvill beoppraised ut wliiitevcr slugeof
   devclopmenl (enUtlement proccss) as of llie effectivedale ofappraisal, December 4,2007. .All elements
   of a MAFUCET VALUEsale nro to be prcacnliii terras of die price uponwhich a willinfi and well-
   Infbrmed sellerand a willing ond well-informed buyerwould agree, in thcabscneeof anyunusual
   compulsion oneither, and reasonable e-xposure onthe open and eompetilive market. Reasonable
   exposure limeuiMARICET VALUE esllmutes precedes thespecified dote (efleolive date) of the
   appraisal. MARICET VALUE alsotissumes anopen and eompedlive market of lUe proiicrty interest
   beingappraised. TIte function of theappraisal is to eslBblish collateml forpossible acquisition lending.

   The properly righl<? being appraised are the unencumbered Fee Simple Interest of all fiiture benefits tlinl
   may be derived from the property's present or possible use, except for easements and rii^Ls-ol^way of
   rccord.

   To develop liu.'; appnilsiil, Rajniiond L. Dozler, MAI has made a personal Inspeciion of tlie subjeci
   properly. ln_nddition, hehns rcviawcd sgles of comparable properiies. perfonned a highest and best u.sc
   nniilysis nnd a lajid residual analysis and has welgiied and <X)Jiiparcd the dutn to arrive ul tlieesitlmated
   value of thesubjeci property. Theeffective dateof tills appmi.sal is December 4,2007.




                                                                                                     D.FIEGL-000689
Case 5:15-cr-00034-EXE Document 164-3 Filed 11/06/18 Page 53 of 102




   Poiic2
   DiizicrApiiniisa! Ciiinjwuiy


   This report is subject lo Uie enclosed Assumptions and Lirnlling Conditions, the Certilicnlion and ihc
   Scope ofthe Appraisal on Page 12. 'flic following extrnordinnrj' assumpJions, liypolhelicol conditions
   and major highest nnd besi uso conclusions nns being made:
        o The hypolliclicid condition is being made that the subject property is100% fiilly enlilled as ofthe
              dateof appiiilsnl, Decchibcr 4, 2007 (HypolheticBl Condition)
        o There isa reusonable probability thai Avenue 59 will never exlend through any portion ofthe
              subject property nnd nny development ofIhJa roadway has eneellwly been abandoned by the
              County of Riverside. (Highest and Best Use Conclusion).
        • The subject pixipcrty i.s ciuronlly improved with a working lioise ranch. The highest and best use
          analysis indicated (hot any Incoino derived from the current leose on the subjcet property's horse
              nmch, ^vilJ be ofF-sel by the cost ofdemolition leaving no conlributory value ofiIjc curreni
              improvements. (Highest nnd Best Use Conclusion).
   Olhcrwise there are no exlmordinao' orspcelal aasumptions legarding tltis appraisal. Also, this leuer of
   transmittal is nol the completed Jippriii.SMl report bjiUlJtm^cnt ofvalue conelu.sions. Users ofthis
   appmlsal ure'^courogedtoT^tlT^omplelednttached repi^to rcaclilhe nppraise?s conclusions via ihc
   approisul procc.ss.

  The intention ofthis uppmi.sal report is to comply fully with FFRREA appraisal guidelines, ps well na Ihe
  current Unifonn Sltindiuxls of Professionni Appraisal Practitse (USPAP) adopted by Uie Appmisal
  Slundards Board of the Appraisal Foundiilion; Ihe requirements ofil»e Code ofPralfcssionaJ Ethics and
  SlundnKis ofProfessional Practice oftlie Appraisal Institute. Tlie doijarturc provision shall not apply.
  Tlic undersigned'does nol have any persoiml interest, either present or contemplated, in the subject
  ijropcrly itnd certincs that ibes rcceived or to be received, for the eniploymenl of my sen'ices are not
  contingent on tlie opinions re|3orted Iierein. In addition, the undersigned meets Ujb Competency Provision
  StandJtrd (1.1 a, b, nnd c) as required by USPAP and has the knowledgje und esperiencc lo compleie (he
   assignment conipeiently.

  Therofore bo.sed upon my investigation and analysis oftlie dnta giUhored with t^-pect lo this assignment,
   1huvc forined Uie opinion that the "AS IF ENTITLED'' MARKlTf VALUE ofthe subject property, as of
   the elective date December 4,2007, ismeasured in Ihe amount of:
                                  $40,386,000 (S24M51/Acre or $134,173/Pu|icr Lot)*

               (FORTY ]VHLUONTHR*5E HIINDIU2D EIGHTY vSIX THOUSAND DOLLARS)
      Reusonable e.xposurc time necessaiy lo sell tliis properly lo asingle purehuser prior to the date ofthis
                                        appraisal isestimnted lobe6 to8 montlis.


   '"Based on ijypothetical conditions, extraordinaiy assumptions nnd major highest and best use conclusion.s
   found inIhe'letter oftnmsinillnl. Ifany oftbo hypoUielicol Goiiditioua, extraordinary assumptions and
   major highest and best use conclusions provo to be false, tlie indieuted value could be highly impncted.




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   RespecUully su^ttedr
   DOZIEM'P^SAL CQI



   KajTiiond L. Dozillr, MAJ
   Stale Certified Gencrnl RchI Estate Appraiser
   CA.Ccrl.No.AG004590
   RLD/UIP07-IS6




                                       DOZIER APPRAISAL COMPANY




                                                                  D.FIEGL-000691
Case 5:15-cr-00034-EXE Document 164-3 Filed 11/06/18 Page 55 of 102




                                              CERTIFICATION


Icertify, tJiat, lothe bcsl ofmy knowledge nnd belief...
       ThesliUeinejUs oFFact conlnincd in this report areIrnc nnd corrocl.

       The reported analyses, opinions, nnd conclusions are jimiled only by the reported assumptions
       ;md limiJing conditions, and are my personal, unbitised profcssionnl unnlyses, opinions, and
       conciusioRs.

        I have no present or prospective interest in the property that is Uio subject of (his reixirt, »nd I
        have 110 peTSonul interest or bias "wilh respect lo the piiflies involved.
       Ihave no bins witli respect to the properly that is the subject ot tliis report or to tlie pnrties
        Involved wilh this ossignment.

        My engagement In liiis assignment was nol oontingont ttpon developing or reporting
        predctcnnined results-

        My compensation is nol contingenl upon the reporting of npredolenuincd wlue or direction in
        value dial favors Uie cause ofthe client, the amount ofthe value estimote, tlie uttamnmnt ol
        .slipuluied result, or the occurrencc oF usubsequent event.
        My analyses, opinions, and conclusionH were developed, and this report lias been prepared in
        conlbrmity with tJie Unilbrm Standards cFProfessional Appraisal Prnerice.
        Ihave made apersonal inspection ofthe property thai is the subject ofUiis report.
        Ms Lori I'abros. independent contractor, provided signiflcimi professiaiwl assistance to the
        pci^on signing this report. Mr. Raymond L Do/jer. MAI, perfomied final analysis ol* market
        data inclatermining indication of value.

        The appraisal assignment was not based on arequested minimum valuuliait, aKpecille vnluation.
        or the approN'nl oFa loan.

        I certify (hat. to Uie best of my knowledge and belief, the reported anab-ses, opinions, and
        conclusions ^vcre developed, and ilils report has been prepared, in cona>rn]lty wilh the
        requirements of the Code of ProtcssJonal Ethics and the Standards oi Profcssiunal Apprutsa!
        Practiceof the Appraisal Institute.

        IcertiiV that U)c use of this report Is subject to the requirements of the Appraisal Institute relating
        to review by its duly authorized represenlatives.
                                                                              SRlffl*       : rcquiremenls of the
        As ofthe dale oftliia report I, Raymond L Dozlcr, MAJ»
        continuing educution prognun ofthe Appraisal InstJ^

                                                           JiayrnBRcrL. Uo^tari^lSJ
                                                             State Certified General Real Estate Appraiser
                                                             CA. Cert. No. AG0CM590




                                        DOZm APrRAiSriLCO,WANY




                                                                                                  D.FIEGL-000692
Case 5:15-cr-00034-EXE Document 164-3 Filed 11/06/18 Page 56 of 102




                      Discounletl Cash Flo>v and Land R<Lsi(lual Assuinptions


     Datu 4)f Appraisal:                                Decenibcr 4,2007
     Hoid)n2> period: (From Row Lnnd Fully              72 Months
     Entitled)
     Number of Lots                              301
     Average Lot Price                    8270,076
     Total Selling Price                S81.239.000     AggrBgate Retail Value
     Annual Appreciation                        2.5%    CPI & Inflation as offset
     Absorption per montii                          5   5 lots iier monfli
     Months to Absorb                             60    From Completion to Sell Out
     Otlicr Income                                -0-
     Present Value Factor (Properly Discount            10,00% LaJid Residual Fully Entitled
    Role)
    Total Aggregate Retail Value Estimate:              $81,239,000



    DiscountcU Ca^h FIo>v and Land Residua] Analyiiis for 301 Lots

   The tbllqwing page contoins the discounted cash tlovv Income and expense calciiindons
   related to the subjecl'ij 301 rasidBntiEil paper lots "as if enlilled" and ready for sale upon (he
   effective dute of the appralsRl.




                                  DOZiBRAl'PliAlSAi COMPANY




                                                                                      D.FIEGL-000693
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 Discounted Cash Flow Analysis Solvingfor the"As irEntilled" Miu'ket Valueof301 residential
 palmer lots.




                               DOmR APPfiAiS.4L COMPANY




                                                                              D.FIEGL-000694
                                                                                                                                                                                                                                                                                                                        D.FIEGL-000695
Case 5:15-cr-00034-EXE Document 164-3 Filed 11/06/18 Page 58 of 102




                                                                       "AS IF ENTITLED" MARKET VALUE OF 163.87 Acres
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  Case 5:15-cr-00034-EXE Document 164-3 Filed 11/06/18 Page 59 of 102




PRIVATE PLACEMENT MEMORANDUM VBE LENDERS, LLC              EXHIBIT 9



                                                          D.FIEGL-000696
     Case 5:15-cr-00034-EXE Document 164-3 Filed 11/06/18 Page 60 of 102




Private Placement Memorandum                                                          Confidential



                          Van Buren Estates Lenders, LLC
                             Up to $17,500,000of Membership Interests
                                   Minimum Subscription: $50,000

                                          Manager:
                                    RMC Management Co., LLC
                                   1419 Burlingame Avenue, Suite R
                                    Burlingame, California 94010
                                      Telephone: 650-401-3235
                                       Facsimile: 650-579-2610
                                   E-MaU: john@rmcreloans.com

 THESE SECURITIES ARE SUBJECT TO A HIGH DEGREE OF RISK                                     SEE "RISK
 FACTORS."



                                           Price to                Sales                   Proceeds to
                                          Investors             Commissions                   Companv
  Minimum Investment                        $50,000                  $0                        $50,000
  Minimum Offering                       $9,000,000                  $0                     $9,000,000
  Maximum Offering                      $17,500,000                  $0                    $17,500,000


 TheManager is ofFering Membership Interests ona best-eJEfoits basis. This offering will terminate onthe
 Offering Termination Date, April 30, 2008, unless the Manager fixes an earlier Offering Termination
 Date orextends the Offering Termination Date until any date not later than June 30,2008. The Manager
 does not receive any commissions or fees for sales of Membership Interests but, as the Manager ofthe
 Company, receives fees for managing the Company and expense reimbursements.              See "Plan of
 Distribution," "Compensation of and Benefits to the Manager" and "Summary of Agreement -
 Distributions and Allocations."

 THESE SECURITIES HAVE NOT BEEN REGISTERED UNDER THE 1933 ACT OR
 APPROVED OR DISAPPROVED BY THE SEC OR ANY STATE SECURITIES
 ADMINISTRATOR, NOR HAS THE SEC OR ANY STATE SECURITIES ADMINISTRATOR
 PASSED ON THE ACCURACY OR ADEQUACY OF THIS MEMORANDUM.           ANY
 REPRESENTATION TO THE CONTRARY IS A CRIMINAL OFFENSE.


                                                                                   Copy No.

                                                          Offeree Name:



                  Thedate of this Private Placement Memorandum is Februaiy 12,2008




                                                                                       D.FIEGL-000697
      Case 5:15-cr-00034-EXE Document 164-3 Filed 11/06/18 Page 61 of 102




Private Placement Memorandum                                                               Confidential

                               Van Buren Estates Lenders, LLC

                          Up to $17,500,000 of Membership Interests
                                 Minimum Subscription: $50,000
  THESE securities ARE SUBJECT TO A HIGH DEGREE OF RISK. SEE "RISK
  FACTORS."

  Van Buren Estates Lenders, LLC (the "Company") is being organized to make the Loan to Van Buren
  Estates Partners, L.P., aCalifornia limited partnership (the "Fund"), to refinance, in part, a loan made by
  another lender to the Fund that is secured by afirst deed oftrust on the Properly owned by the Fund. The
  Property, which is mostly undeveloped, is near La Quinta, California. The legal description of the
  Properly is in Exhibit B of the Agreement (which is Exhibit A of this Memorandum). The Fund has
  procured a tentative subdivision tract map, and intends to procure a fmal tract map, for the Property and
 then to sell the Properly. The Company's principal objectives are to receive interest on its Loan to the
 Fund, to make quarterly cash distributions to Members, to the extent that the Manager determines that
 cash isavailable, and toreceive repayment ofthe Loan within 1to 2 years, the final maturity date being
 dependent on the aggregate amount ofthe Capital Contributions to the Company and, consequently, the
 amount of the Loan. The Company cannot assure investors thatthese objectives will be attained. See
 "Business" and "Risk Factors."

 Subscription funds will first be deposited in a special deposit account. Interest received, ifany, on the
 funds in the special deposit account will be paid to the respective subscribers. If less than theMinimum
 Offering is subscribed bythe Offermg Termination Date, all Subscription funds will bereturned to the
 subscribers promptly with any interest paid on such funds. If the Minimum Offering is achieved before
 the Offering Termination Date, the Manager may close the special deposit account, admit Members and
 commence the Company'soperations by making the Loan to the Fund. See "Plan of Distribution."

 THESE SECURITIES ARE SUBJECT TO RESTRICTIONS ON TRANSFER AND RESALE
 AND MAY NOT BE TRANSFERRED OR RESOLD EXCEPT AS PERMITTED UNDIER THE
 1933ACT AND APPLICABLESTATE SECURITIES LAWS,PURSUANT TO REGISTRATION
 OR EXEMPTION THEREFROM, OR WTTHOUT THE CONSENT OF THE MANAGER.
 INVESTORS SHOULD BE AWARE THAT THEY MAY BE REQUIRED TO BEAR THE
 FINANCIALRISKS OF THIS INVESTMENTFOR AN INDEFINITE PERIOD OF TIME.

 The information in this Memorandum is furnished on a confidential basis exclusively for your use and
 retention. By accepting this Memorandum, you agree not to transmit, reproduce or make available to any
 othQT Person (other than your legal, tax, accounting and other advisers) any or all ofthis Memorandum
 without the Manager's express written permission. Notwithstanding anything herein to the contrary,
 however, you (and your employees, representatives orother agents) may disclose to anyone, without any
 limitation, the tax treatment and tax structure ofthe Company and any transactions described herein, and
 any and all materials (including opinions orother tax analyses) that are provided to you relating to such
 tax treatment and structure. This Memorandum contains information about the Company that you should
 know before deciding whether to invest. Please read it carefully and retain it forfuture reference.

                                     RMC Management Co., LLC
                                         Burlingame, California



 RRROR! UNKNOWN DOajMENT PROPERTY NAME.                                             Buren Extate.1 Lenders. U.C

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   Case 5:15-cr-00034-EXE Document 164-3 Filed 11/06/18 Page 62 of 102




FIDELITY TITLE ESTIMATED CLOSING STATEMENT 3/1(^08 EXHIBIT lOA


                                                           D.FIEGL-000699
Case 5:15-cr-00034-EXE Document 164-3 Filed 11/06/18 Page 63 of 102




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   Case 5:15-cr-00034-EXE Document 164-3 Filed 11/06/18 Page 64 of 102




HDELriY TITLE FINAL CLOSING STMT3S/2V08               EXHIBmOB



                                                           D.FIEGL-000701
              Case 5:15-cr-00034-EXE Document 164-3 Filed 11/06/18 Page 65 of 102




                                       Fidelity National Title Company
                                           1098 Fa;ter Oty Blvd., Suite 201. Foster City, CA 94404
                                                     650 357-903Q • FAX 650 357-9031



DATE: March 28, 2008                                                                                                 TIME: 2:48 PM
ESCROW NO.: XX-XXXXXXX-A-MMF
LOCATE NO.; CAFNrTO933-0941-0011-06026823-A
ESCROW OFFICER: Maura M. Freitas                                                                      CLOSING DATE: March 21, 2008



                                      BORROWER FINAL CLOSING STATEMENT

LENDER:                Van Buren Estates Lenders, LLC, a California Limited Liability Company
 BORROWER:             Van Buren Estates Partners, LP
.PROPERTY:             59000 Van Buren Street, Thernfial, CA 92274



                                                                                      $   DEBITS             $   CREDITS


FINANCIAL:
New 1st Trust Deed to Van Buren Estates Lenders, LLC, a                                                     10,450,000.00
California Limited Liability Company
 2w 2nd Trust Deed to George Fiegl                                                                          10,000,000.00

TITLE CHARGES:
41-FORMERLY ALTA Loan 1970/84 w,/Form 1 for $10,450,000.00                                8,146.00
Endorsement Fee(s)                                                                            50.00
01-L-aTA Standard - 1990 for $10,000,000.00                                               4,772.00
Recording Trust Deed(s)                                                                       87.00
Recording - sub/recons                                                                        48.00
Recording - 2nd D/T                                                                           40.00

ESCROW CHARGES:
Escrow Fee to Fidelity National Title                                                        250.00
Doc Prep Fees to Fidelity National Title                                                     150.00
Outside Courier/Special Messenger                                                             33.00
Notary Fees                                                                                   10,00

NEW LOAN CHARGES - Van Buren Estates Lenders, LLC, a California Limited Liability Company
Total Loan Charges: $3;999/528.76
estimated funds retained by lender to Van Buren Estates Lenders, 3,999,628.76
LLC, a California Limited Liability Company

NEW LOAN CHARGES George Fiegl
Total Loan Charges: $2,800^000.00
prepaid interest to George Flegi                                                     2,800,000.00

PAYOFFS - AMC Investor Services
 ital Payoff $13,180,271.92
Principal Balance to AMC Investor Services                                         13,000,000.00
Interest on Principal Balance at $5020.61 per day from 3/1/2008                       125,515.25
thru 3/25/2008 to AMC Investor Services
Forwarding/Demand Fee to AMC Investor Sen/Ices                                                30.00
Reconveyance Fee to AMC Investor Services                                                     45.00

                                                                                                           D.FIEGL-000702
   Case 5:15-cr-00034-EXE Document 164-3 Filed 11/06/18 Page 66 of 102




RECONVEYANCE HARBORD LOAN $6.4M                            EXHIBIT 11


                                                           D.FIEGL-000703
                  Case 5:15-cr-00034-EXE Document 164-3 Filed 11/06/18 Page 67 of 102


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   Fidelfty National TltlaCompany                                                                County of Rivarfiida
   Escrow Ncm                                                                                       Larry U. Uard
   Locate Ko.} CAFNn}g33-0S41-00U-06026823-A                                              Assessor, County Clerk & Recorder
   TIUeNo.: 33371524

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   Van Buren Estates Partners, LP .
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   c/o Tiburon Ventures
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   Larkspur, CA 94939                                                                       1             1
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  APN: 759-05CM)l,02,03,759-OSO-OB,U
                    SUBSTITUnON OF TRUSTEE AND FULL RECONVEYANCE
 WHEREAS, Van Buran Estates^ LLC was tfie original Tnistoo
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 Stewart ntle of Callf^Brnfar Xnc. the original Trustee^ and                                                                               051
 Hariiord Ffnanceir LLC the Benefldary,
 under^toertaln DeedofTrust dated March8,2005 and recordedas Instrumentno. 0198823 on March 11/ 2005 In
 book n/a, pagen/a, omdal Records of the county of Riverside,StatsofCaHfomfa, and
 WHQR^,theundersigned Beneflclaiy desires tosubstitute a new TVustee undersaid Deed ofTrust In place and Instead
 of StewartTitle of California, Xnc.
 now therefbre, the undersigned hereby substitutes
 Columbus Nova PartnerSi. LLC^ a Delaware Limited Liability Company
 as Trustee
 undersald Deed ofTrust and                             *                    _
 Columbus Nova Partner^ LLC; a Delaware Limited LtabflltyCompany
 as the substlj^fced Trustee
ydoss hereby teconvey, without wamanty, to the person or persons legally entitled theretOi the &tatenow held thereunder.
 OATED; March 5,2008                                                             OoIumbus^WPartaers^Jifc
 State of Galifeffite
 County of                                                                                                                   Benefldary.

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pa^c^s)whose nam6(5} IS/anesubsaibed to the withb) Instrument                                                     SubstltutBd Trustee
and adcnowfedged to me tl»t he/she/they execubsd the same In
 hIs/her/theIr authorized capadtyOes), and that by t^/her/Uielr
slgnature(s) on the Instrument the person(s), or the entity upon                                 (print name/tide)
 behalf of which the person(5)acted, executed the Instniment

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WITNESS my hand and official seal

Signature.       v:                                                 (Seal)

                  -     VIRGINIA L WEST
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  Case 5:15-cr-00034-EXE Document 164-3 Filed 11/06/18 Page 68 of 102




RECONVEYANCE APPIAN MEZZ LOAN $5.2M                       EXfflBITlZ




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                   Case 5:15-cr-00034-EXE Document 164-3 Filed 11/06/18 Page 69 of 102




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   c/6 Tiburon Ventures
   700 Larkspur Landing Circle, 919S                                                                                         COPY
   Larkspur, CA 94939
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   APN: 759-090-01,02,03,759-080^8,11
                            SUBSTXTUTION OF TRUCTEE AND FULL RECONVEYANCE
 WHEREAS Van Buren Estatss, LLC was the original Jrustor,
 Stewart tlUe ofCallftmtla/ Zkic. the or^na! Trustee and
 Applan Mezn;^ LLC the BeneRdary,
 under that certain DeedofTVustdated Maith B, 2005 and recordedas Instrumentno. 0198825 on March 11,2005 in
 bookn/a, page n/a, Offldai Records of thecount/ofRiversUe, State of Caflfernia, and
 WH£REAi5/ the undersigned Baiefldary desiresto substitutea newTrustee undersaidDeedofTrustInplaceandInstead
 of Stewart Title of Caltfomla/ lnc»
 now therefore, the undersigned hereby substitutes
 Colombiis Nova Partnersir LLC, a Delaware Umtted Liability company
 as Trustee
 under said Deed ofThist and
 Columbus Nova Partners, LLC, a Delawara Limited Liability Company
 a^the substituted Trustee
 .deeshereby reconvey, without warranty, to the person or persons legally entitled dieieto,the Estate now held thereunder.
 (>ATED: Maiich5,200B                                                     COlumbusTtlov^Partnc

 State of eaffiMa
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his/her/theIr authorized c^dtyOes), and that by hIs/her/theIr Attoizsf
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  Case 5:15-cr-00034-EXE Document 164-3 Filed 11/06/18 Page 70 of 102




RECONVEYANCE AGI S9'k AVE LOAN$1.285M                     EXHEBITIS



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                ^ California,Inc. the orlglnaf Trustee^ and
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  AGI59lb Avenue, LLC
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  under said DeaJ ofTrust and
. A6C 59tli Avenue, LLC
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 behalf ofwhich the person(s) acted, executed the instrument
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              Case 5:15-cr-00034-EXE Document 164-3 Filed 11/06/18 Page 71 of 102
  Case 5:15-cr-00034-EXE Document 164-3 Filed 11/06/18 Page 72 of 102




RECONVEYANCE ACM LOAN $13M                                EXHIBm4



                                                          D.FIEGL-000709
                  Case 5:15-cr-00034-EXE Document 164-3 Filed 11/06/18 Page 73 of 102


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                                           DEED OF RECONVEYANCE                                                                     M
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                     indebtedness secured by tlie Deed of Trust EXECUTED BY VAN BUREN ESTATES, LLC VAN BUREN
                                                                                     '''''' CALIFORNIA LMTED t^
 TO ACM INVESTORSERVICES, INC. TRUSTEE(S), recorded 03/08/2006, as Instrument No. 2006^164611, in BooWReel n/a,
 Page/Image n/a, of Offldal Records in the Office of the County Recorder ofRIVERSIDE, County, State of California, has been

 NOW THE^FORE, the present Trustee(s) having received from the present owner ofthe beneficial interest under said Deed of
                                                                                          obligations secured by said Deed of Trust,
     K by itunder said Deed ofTrust in'warranty,
 now held                                        to the
                                       said County,     person or
                                                     California,   persons legaUy
                                                                 describing the landentitled
                                                                                     therein.thereto, tiie estate, title and interest



 BRUCE AONAROW, PRESIDENT
                                                                                                             ^•2goS
                                                                                                                                     Date
 ACMINVESTOR SERVICES, INC.


STATE OF CAUFORNL^
COUNTY OF           MAigfftJ                ^SS.
On        H-' 2(i'O0                 beforeme, Cu]irMua.Qjajnocdj/?laCUnj^                                     a Notary Public,
Personally appeared                        t^^3>/Vg.C3VJ
who proved to me on the basis ofsatisfactory evidence to be the person(^ whose name(«) is/awwwbscribed to the within
instrument and acknowledged to me that he/st»M»y executed the same in hisAwntlwir authorized capacit>(4es), and that by
his/hfii:/ti«^ignature((f) on the instrument the person(^, or the entity upon behalfofwhich the person^cted, executed the
iDSCj iiiiicnc«




Iorr«t                     OF PERJURY under the laws ofthe State ofCalifornia that the foregoing paragraph is true and
                                                                             > ^                         1 II II • , ,
WITNESS my hand and official seal.
                                                                             4                 CyNIHTASCHMAUOHANN^
                                                                                               Commission #1580036 I
                                                                             i                 Notcny Pubfic -Coflfomla |
                                                                             1                   Marin County     r
Signature                                                                    1            MyCoiimExDfresMowio 9nooi
              SignAure ofNotary Public ^

                                                                                        Place Notar>'Seal Above



DEED RCN.DOC

                                                                                                               D.FIEGL-000710
  Case 5:15-cr-00034-EXE Document 164-3 Filed 11/06/18 Page 74 of 102




APPLICATION FOR CHANGED ASSESSMENT
SUBMITTED 1^1/08
VALUE ASSERTED ACCURATE AS OF 1/1/08

Parcel 759-090-001        Applicant's Opinion of Value:    $ 1^57,900.


Parcel 759-090-002        Applicant's Opinion of Value:    $ 1^00,000,


Parcel 759-080-008        Applicant's Opinion of Value:    $ 1^58,800.


Parcel 759-080-011        Applicant's Opinion of Value:    $ 900,000.


Parcel 759-090-003        Applicanfs Opinion of Value:     $ 1^57450.

TOTAL APPLICANT'S OPINION OF VALUE                         $7^74,150.




APPLICATION FOR CHANGED ASSESSMENT                         EXHIBmS




                                                          D.FIEGL-000711
                         Case 5:15-cr-00034-EXE Document 164-3 Filed 11/06/18 Page 75 of 102


    BOE-' 01-AH (Sli REV.& (6/20/08)                                                                            COUNTY OF RIVERSIDE - CLERK OF THE BOARD. P.O. BOX 1G28.
    APPLICATION FOR CHANGED ASSESSMENT:                               This form conlains all the                RIVERSIDE. OA. 92502-1628 (951) 955-1060
    requests for infornialion thai are required for filing an application for Ciiangeci                                                                 DO       1 jyRITc IWiHIE SPACE • FQP! OFI tCD USt OWI Y
    Assossnieiil. Failure to complete this application may result in rejection of Ihe
    application anci/or denial of the appeal. Applicants should be prepared to
                                                                                                               APPLICATION # 2008
                                                                                                                                                                      :/: - 2 '4 b                       3
                                                                                                               YEAR/ROLL                  NSA DATE                    DIV/OFFICE                     USE COOE
submit additional information if requested by the Assessor or al ihe lime of the
hearing. FaUure to provide information the Appeals Board considers necessary
may result in the continuarice of the hearing.                                                                                                                                            TIMELY? p^S • NO
PLEASE TyPE OR PRINT IN DARK INK.                SEE INSTRUCTIONS FOR FURTHER INFORMATION.

                           rirsl. mipaieinitial)
1. APPLICANT'S NAME (last, firsl. miaaie initial)                                               ^              3.PROPERTY IDENTIFICATION INFORMATION - Please complele.                                       ^
                                   'zsHL.P.                                                                        ASSESSMENT. ^PPLEMENTAL. ESCAPE OR CORRECTED KUfiUaER (cifcls ofrf>)
                                                                                                                                                                                                                     L..
STREET^DDRESS/P.O BOX NUMBER f«t/ST li&opplKBpfs maibna.isdd!6sf)-.                     •           _ _
    W Lar/^j?ur                                             Ll.-x. te. ^i^<h /7f
CITY                                                 SL«i             ZIP-CO                                    PARCEL NUMBER (il tfrllerent frontabuvs]
      Ldi'k'x                                             t. rh
DAYTIME PH0W5          SV U       [ALTERNATE PHONE                    FAX NUMBER

                                             )                        (        ) ..
E-MAIL ADDRESS
                                                                                                                PROPERTY ADDRESS AND/OR LOCATION                               vj-i,     'T''/                       ^            .

2. AGENT OR jOT-QRNEY FOR APPLICANT                                                                            PROPERTY TYPE;
        ]/]/y Se^cfft pkhni^e                                                                                  • Single-Family Residence/Condo/Townhouse

                            %
STREET ADDRESS/P.O. BOX NUMBER
                                                                                                               •/?Sartmenl8 (Number ofUnits
                                                                                                               •Cj ^mmerclal/lnduslrial                 EH?acanl Land
                                                                                                                                                                           )

      F. 0- P,o7 nosr                                                 ZIP
                                                                                                                B'Agricullural                          • Other
CITY

              C^-w^o                                                        "fyoBr                             • Business Personal Property/Fixtures
                                                                                                                                                                                           n
DAYTIME PHONE           ~Z«    fi ALTERNATE PHONE
                               /: WLTEI                          r r- FAX number            ^              r   4. VALUE                                          A.   VALUE                      B. APPUCANTS

                   f-fm (fts> srri-oi-iS                                                                                                                         ON ROLL                        O^INIONO^'VALUE

E-MAIL ADDRESS           , .                     I
                                                                                                                                                                                          1 s t7 "/''t-
        gCbi^U<Y\(^ ^oi'Com                                                                                    LAND

                                                                                                               IMPROVEMENT / STRUCTURES

                                  AGENrS AUTHORIZATION                                                         FIXTURES

                                                                                                               BUS. / PERSONAL PROPERTY
If the appScantis a corporation, the agent's authorization must be signed by an officer
or authorized emp/oyee of the buaness entity. Ifthe agent is not an attorney licensed in                       TREES & VINES
Carifomia or a spouse, tiiUd, or parent of the person affected, the following must be                          MINERAL RIGHTS
completed (or attached to this application-see instructions}.
                                                                                                               PENALTIES
                                                                                                                                                                                                                     y.'   V -.
PRINT NAME OF AGENT AND AG^CY                                                                                  NET TOTAL
                                                                                                                                                       :? ^ - l o i i                      i.hl
       fl/'                                                                                                    5. TYP^FASSESSMENT BEING APPEALED (checl< one) ' '
                                                                                                                                IMPORTANT — SEE INSTRUCTIONS FOR FILING PERIODS
is hereby authorized to act as my agent in this application and may inspect assessor's                         CB^egular Assessment—Value as of January 1of the current year
records, enter into stipulations, and otherwise settle issues relating to this application.                    Q Supplemental Assessment                                                                 TAX YEAR
SIGNATURE OF APPLICANT/OFFICER/AUTHORIZED EMPLOYEE                                                                   Attach 1 copy of Notice or Tax Bill
                                                                                                                     Date of Notice or Tax Bill
"s.             S6 6           ttcjcki'of                                                                      Q Roll Change/Escape Assessment/Calamity Reassessment                                     TAX YEAR
TITLE                                                                 DATE
                                                                                                                     Attach 1 copy of Notice or Tax Bill
                                                                                                                     Date of Notice or Tax Bill

6. THE FACTS THAT I RELY UPON TO SUPPORT REQUESTED CHANGES IN VALUE ARE AS FOLLOWS; Yoo may cheek aH Ihst apply, if you areuncertain ol which ileucto checK|,fBease check
-1.OWfe R*snd sQachone copyoi 3 bnel exptenalion erf yourreasonts) (orffiing Ihisapplicslim.PLEASE SEE INSTRUCTIONS BEFORE COMPLETING THISSECTION
                                                                                                                                                                                                             :i-n^
            Decline in Value: The assessor's roll value exceeds the market value as of                               E Personal Property/Fixtures: Assessor's valueof personalprpperly'-aod/cr
            January 1 of the curienl year.                                                                                 fixtures exceeds market value.                                      c-j           - -.a
       B.   Change in Ownership;                                                                                           •   1. Allpersonal property/fixtures.                               . i
            •   1. No change in ownerstiip or other reassessabie event occurred on the dale                                • 2. Orflyaportion ofthe pereonal property/nxtures. Attach des(51pt!on pji^Dse Hems.
                   Base y^a^^e^f^thec                             hip established on the date
                                                                                      is incorrect
                                                                                                               •
                                                                                                               •
                                                                                                                     F. Penalty Assessment: Penaltyassessment is notjustified.
                                                                                                                     G. Classification: Assessor's classification and/or allocation ol-wlue o(:prbperly is
       C.   New Construction:                                                                                              inconecL                                                                  i       ' io
            •   1. No new construction or other reassessabie event occuned on tl>edate                               H. Appeal after anAudit: MUST include description of each pr^erty, issnes being
                   of                                                                  .                                   appealed, and your opinion of value. Please refer to inslructi^.                  ')^
            •   2. Base year value (or the new construtiion established on the date of                                     •   1. Amount of escape assessment is incorrect.                                  ;-c
                                                                     is incotrecl
                                                                                                                           •   2. Assessment of other property of the assessee al the location is incorrect.
•      D. Calamity Reassessment: Assessor's reduced value is inconect (or prc^rty
          damaged by misfortune or calamity.                                                                   •     I. Other: Explain belowor attach explanation.

7. WRITTEN FINDINGS OF FACTS (S256.00 per PARCEL) (DO NOTsend wUh application).                                                                      • Are requested                   Ij3^re not requested
8. QJ^es           • No Doyou v/ani to designate this application as a claim for refund? Please refer to instructions first.
                                                                                                CERTIFICATION

/ certify (or declare) under penally ol perjury under Ihe laws of the State-of Calllorniathat the foregoing and all intormation hereon. including any accompanying statements or
documents, is true, correct,and complele to the best ol my knowledge and beliefand thai 1 am (1) the owner of Ihe property or the person affected (i.e.. a person having a direct
econonuc interesl in Ihe payment ofIhe taxes on thai property—^^Tl}e'Applicant^. (2) an agent authorized bythe applicant under Item 2 olthis application, or(3) an attorney licensed
to Dfacfeelawin the Stale Of CaMornia. Slate fiar/W®.             r                         . whohas been retainedbvthe aoDticant and has been authorizedbv thaioerson tofilethisaopkcalion
SIGNATURE                                                                                                      SIGNED AT-                 CITY               ^        STATE
                                                                                                                    j-^r
NAME ANDTITii E. {please lymtKpnni)                   '      a                                  /                                     "                               i/
    [AA. Sc[^'T\ ) h t lOn )' J                                                                           •Aliotney • Spouse Regisieicd DoirieslicPannet • Child • F'aem • Person Allccied
                                                                                                                                                           D.FIEGL-000712
   Case 5:15-cr-00034-EXE Document 164-3 Filed 11/06/18 Page 76 of 102




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Slate of Oregon

Comity of Clackamas                               N                            OFFiClAi.

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                                                  Y
                                                      STAMP or SEAL




Tlie attached Application For Changed Assessment, County of Riverside, State of California, was

acknowledged beforeme this 1st day of December,2008, by W. Scott Phiiiney.




                                                             J. QJAj^JLsL
                                                  0
                                                  NOTARY: Janice Blakeslee



                                                  My Commission Expires: "7^ I"^-7010




                                                                                       D.FIEGL-000713
      Case 5:15-cr-00034-EXE Document 164-3 Filed 11/06/18 Page 77 of 102



                                                                                    0 8-24643




                           LIMITED POWER OF ATTORNEY
                      AUTHORISATION TO- REPRESENT TAJCPAVER
                          ANB/OR BISCLOSE INFOmATBON

T0:     Ail County Assessment Offices
        Boards of Equalization
        Hearings Officers
        Assessment Appeals Boards
        Depaitment of Revenue
        Other Adminisirative Bodies


Van Buren Esssies Fariners^ L.F. aiithorizes and appoints W. Scott Phinneyj to act as agent with
full authority to handle ail maners relating to real and personal property tax assessraenis and
valuatioiis. This includes, but is not limited 1o, tiling of property tax appeals or other documents,
examining any records which taxpayer would have a right to examine, appearing, before aiiy
assessment officer, valuation board, hearings officer, Assessment Appeals Board, or State Board of
Equalization anddiscussing assessments and resolving disputes cojiceming the assesstnents onthe
properi}' before the reviewing body. This authorization istotake precedence over any pre-cxisiing
authorizaiions concerning the properties identified below.

Agent shall provide applicant with a copy of the application filed with the County.

Years Covered by Authorization:       2008-^09

Property Address;                     NE Corner ofVan Buren Sc. and 60'^ .Ave., La Quinia, OA
Count}':                              Riverside

Assessor's Parcel Number(s):          759-.090-001, 759-090-002, 759-090-003,
                                      759-080-008, and 759-080-011




By:                     1                                    Date: // I         i
                                                                        /
                ! I

        Print Name        /


                A'l /Ifj/rh&ggs                              File No. 08-924
        Tixle




                                                                                        D.FIEGL-000714
             D.FIEGL-000715
90e.305-AH{S1) RcV.8(5CO/Oa)                                                                         COUNTY OFRIVERSIDE - CLERK OF THE BOARD, P.O. BOX 1628.
APPLICATION FOR CHANGED ASSESSMENT; This form contains all the                                             I9SH 9SS-1060
fequests iorinfoirnalion lhat are required for filing an appKcalion for Changed RIVERSIDE. CA. 92502-1628 DONOTJfmaS INTHIiSPACe • FDROfFICE USEONLY
Assessmenl. Failure locomplete this application may resull in rejection of the APPLICATION # 2008
applicalion and/or denial of the appeal. Applicants should t>e prepared lo
                                                                                                     YEAR/HOU^^           NSA DATE                   )IV(OFFICE               USE CODE
2/l/Qt 1:M »t1
                 4                         ^                 *                             ...... o2>C2ao.                                      I
                                                                                                     INITIALS OF CLEW                      DATE RECEIVED            TIMELY^               •       NO
•iir^ iwu'WMWtiwMwmMiW ii                                                                                                                  \a-\-cR.
.1. APPUCANrSNAMEffe5/./Jra/.m/tfd;eih//i3() ^                    ^                                  3. PROP^TY IDENTIFICATION INFO^ATION - Please complete.
 L/k>i fjUi-^ien                                                                L.i.                  ASSESSMENT^P^EMENTAL. ESC^E OR CORRECTED NUMBER {«cle ore)                              /
iTREJETjftOORESOT.O. BOX NUMBER (UUSfbeippScmi ooitng aMe^—^
 ]Oiy                      iJfheith^h Ctr 'cle. S^//? / 7^
                                                                 zsp-ioo^^                            PARCELNUMBER (KditferemInxn above)
                                  ALTERNATE PHONE
                          J.- <. lALTER                          FAX NUMBER
                                               )                          )
E-NMtL ADDRESS                                                                                        PROeERTY ADDRESS AND/OR U3CAT10M               f '4_                            /           /- /l
2?AGENT OR ;mORNEY FOR APPLICANT
   SENT OR
                                                                                                      SlC-C/0
                                                                                                      PROPERTY TVDB*
                                                                                                      PPHDCDTV TYPE:                                                                  '
         Y/, Se-oH pl^',ni'\&                                                                         • Smgte-farnily ResWence/ContJo/Townhooso
STRKTAODRESSW.O. BOX NUMBER
                                                                                                      •/ijaftmems (Numtjer ofUnits                      )
                                                                                                     •gj Qcfinmercial/fndustrial           fD^arant Land
cmr
     F-0- fiox 1^>                                                                                    B^gricultural                        O Other
                                                                 ZIP CO i5f—                          • Business Personal Pioperty/Flxiures
         L/ik^                                         0^                                             is fws nmftPrty art pivnef-oca/i jjedfu'mUPrfmlliidwtif/m?.    n Y«e        IJTTnd
DAYTIME PHONE              -    -    ALTERNATE PHONE    .        FAX NLHSABER         _        _ >    4. VALUE                                  A. vMue                    0. APPUCANrS
1                                    (jig)                       (US )g ? r-/r2^                                                                ON ROLL                   «rtmi>KOfVALUt
E-MAIL A00R6SS
         LAOORESS^                   ^             :
                                                                                                      LAND                            3h2hs-^\                                        C'C^O
         SC»f/plTii^^ehC£>m                                                                           WPROVEMENT1 STRUCTURES               1 b 14' i>rO
                                     AGENT'S AUTHORIZATION                                            FIXTURES
It Vie applicant is a corporation, the agent'sauthorization mustbe signed byan ofHear                 BUS. / PERSONAL PROPERTY
oraulhoritea employee ofthebusiness entity. Iftheagentis notan attorney licensed in                   TREES & VINES
California or a spouse, child, or parent of Ote person affected, thefollowing must be
completed (orattachedto Eftis applkalion-see InstnjcUons).                                            MINERAL RIGHTS
                                                                                                      PENALTIES
PRINT NAIiCE OF AGENT AND AG^Y
                                                                                                      NET TOTAL                        i                2^1 S
      V- S'ceti Ph\nr}Cy                                                                                           IMPORTANT — SEE INSTRUCTIONS FOR FILING PERIODS
is hereby authorized to act as myagentin this applicalion andmayinspect assessor^                     DS^Regufar Assessment —Value as otJanuary 1ofthe current year
records,enterintostipulatioas. and otherwise settle issues relating to thisapplicaUon.                • Supplemental Assessinent                                                 TAX YEAR
SIGNATURE OF APPLICANT/OFFICEWAUTHORIZE
                                     ZED EMPLOYEE                                                         Atlach 1 copy of Notice Of Ta* Bin
                 see qlfrt^eJ                                                                             Dateof Noticeor Tax Bill
tTtle                                ~~~                                                              D RoB Ctiange/Escape Assessment/Catamtty Reassessment                      TAX YEAR
                                                                 DATE
                                                                                                          Attach 1 copy of Notice or Tax Bill
                                                                                                          Date of Notice or Tax Bill,
         ^                      r.
                                         SUPPORT
?.•lO^R and attach one oopy da tvwl vxplartBUon     REQUESTED
                                                of your rsawnfs) torCHANGES               I.
                                                                     lainQ this appljcslion
                                                                                 IN VALUE PLEASE    FOLLOWS
                                                                                            ARE AS SEE INSTRUCTIONS
                                                                                                             Yoo mayBEFORE   Ihal apply. II yoo
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    A. Ooclina
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                In Value:
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                            Tho assessor's
                                acDoceAp'e roll
                                           ^fl value exceeds (k..
                                                             the marketvakieas of                         r? r%                          <. . ...     .   ^            ?m
                                                                                                          E, Personal Property/Fixtures: Assessor's valueofpersorSiropert^ndror
             January 1 of (he current year.                                                                  fixtures exceeds madtetvatue.
     a       Change In Ownership;                                                                            • I. All personal property/fixtures.                      -2^       'O
             •   1. Nodiange inownership or other reassessa!:Je eventoccurred onthedale                      • 2. Only aportion ofthe persondproperty/rixlures Attachi^cnplion'3 those ilems.
                     Base yeaiLvalue for                    trship established on the date            •   F. PenaltyAssessment: Penalty assessmentis notjustiflam                .m
                     0'        IT-fc:                                           is incorrecL          • G. Classification: Assessoi's classificalton and/or altocatien of value ^ property is
     C. New Construction:                                                                                    jncorrecL                                           ^       g
             •   1. No new construction or other reassessable evenl occurredon the date                   H. Appeal afteran Audit: MUST include description ofeach propert^ssues being
                     of                                                                    -                 appealed, and your opinion ofvalue. Piease refer to instfpjwons. >^
             •   2. Base yearvalueforthe newconstruction established on thedate of                            •   1. Amountof escape assessmenl IS incorrect. .       —
                                                                                is incorrccL
• D. Calamity Reassessment; Assessor's reduced value isIncorrect (or property                                • 2. Assessnwnt ofother property of the assessee alihlsflfecatida^incorrect.
             damaged t>y misfortune or calamity.                                                      •   L Other: Explain belowor attach explanation.
7. WRI^EN FINDINGS OF FACTS ($256.00 per PARCEL) (DO NOTsand with application).                                                      D Are requested              IjS^e not requested
8.                   • No Doyou want todesignate thisapplication as a dairnfor refund? Please referto instructions first
                                                                                          CERTlFiCATION
f cei<^ for tfeciare} under penally ofpeijury under the laws otthe State ofCabfomia that the foregoing andall information liereon. including any accompanying statements or
documents, istrue, wrect, end complete lothe best ofmy knowfedge and belief and Otat fam (i) tite owner ofthe property orthe person affected fi.e.. a person having a direct
                  of
10 pracixetawm me Sla^e^o1                    propfirt)"—The App^icant^.
                           cawomra. SfafeB»jNo.t                            anagent
                                                                     who(2)has       authorized
                                                                               beenretained     bytheapplicant
                                                                                            bytheapplicant andhas
                                                                                                               underbeen 2 ofthis applicalion.
                                                                                                                     Hemauthorized             or(3) anattorney
                                                                                                                                   bymatpersonlofile            bcensed
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                                                                                                      sigiJEoaT" •          city                      STATI
             K'                ^ '   yf^i^'V^XyO                                                          UktOs •y.
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 \A/. S c.c-> 7T r h»A 'g y j                                             •   Ownet             • Allormy • $|Muse         Rogsiersd OoRwiilir. Pamer O Child • Parent    • Persot>Affected
                                                                                                                                                                                                   o
                          Case 5:15-cr-00034-EXE Document 164-3 Filed 11/06/18 Page 78 of 102
  Case 5:15-cr-00034-EXE Document 164-3 Filed 11/06/18 Page 79 of 102



                                                                                  08-24644




State ofOregon

County of Clackamas                              N
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                                                 R
                                                 Y
                                                     STAMP or SEAL




The attached Application For Changed Assessment, County ofRiverside, State ofCalifornia, was

acknowledged before me this 1stday ofDecember, 2008, by W. Scott Phiuney.




                                                 ^vrvi^rl       /• QJ)(aIuJLil,
                                                 NOTARY: Janice Blakeslee


                                                 My Commission Expires:




                                                                                        D.FIEGL-000716
  Case 5:15-cr-00034-EXE Document 164-3 Filed 11/06/18 Page 80 of 102




                                                                                        08-24644




                             LIMITED POWER OF A.TTORNEY
                        AUTHORIZATION TO REPRESENT TAJCPaVSR
                            AND/OR mSCLOSE INFOEIMaTIOK

TO:    Ail County-A.ssessmeni Officts
       Beards of Equalization
       Hearings Officers
       .Assessment Appeals Boards
       Departmsnl of Revenue
       Other A.dmir.isirative Bodies

Van Baren Estates Partners, L,P. authorizesand appoints W. Scott Piiinney. lo act as agexii with
fuil authority to handle all matters relating lo real and personal property tax assessments and
valuations. Tnis includes, but is not limited lo, filing of property tax appeals or other documents,
examining any records which taxpayer would have a right io examine, appearing before any
assessment officer, valuation board, hearings officer, Assessment Appeals Board, or State Board of
Equalization anddiscussing assessments and resolving disputes concerning the assessments onths
propertj'before the reviewing body. This authorizationis to take precedenceover any prc-exisiing
authorizations concerning the properties identified below.

.Agent shall provide applicant with a copy of theapplication filed with the County-

Years Covered by Authorization:        2008-09

Property Address:                      NE Comer ofVan Buren St. and 60"' Ave., La Quinia, CA
CounT}':                               Riverside

Assessor's Parcel Number(s):           759-09O-OOK 759-090-002, 759-090-003.
                                       759-080-008, and 759-080-011




Bv:
                   //                                        Date:
                                                                          I
                                                                      i/lBdi/tPS
                                                                                    I
                          (                                                     /



       Print Name             /

                   AA                                        File No. 08-v24
           'itle




                                                                                          D.FIEGL-000717
                       Case 5:15-cr-00034-EXE Document 164-3 Filed 11/06/18 Page 81 of 102


BOE-305-AH <S1) REV.B (5/20/00)                                                                 COUNTY OF RIVERSIDE - CLERK OF THE BOARD. P.O. BOX 1628.
APPLICATION FOR CHANGED ASSESSMENT: This form contains all the                                  RIVERSIDE, CA. 92502-1628 (951) 955-1060
requests for informallon that are required for filing an application for Changed                                                       OONOT^|ff^^ IMTKlii
Assessment Failure to compleie this application may result in rejection of the APPLICATION # 2008
application and/or denial of the appeal Applicants should be prepared to                        YEAR/ROLU             NSA DATE                         DIWOFFICE                     USF CODE
submit additional information if requested by the Assessor or al the time of the                 /sSiil D
hearing. Failure to provide information the Appeals Board considers necessary                                                                                                          .



                                                                                                INITIALS OF CLEF^                          DATE RECEIVED
may result in the continuance of the hearing.
PLEASE TfPE OR PRINTIN DARK INK.            SEE INSTRUCTIONS FOR FURTHER INFORMATION.

    APPLICAUVSHAME (last, first, middlstnitial)       ^                                        3. PROPERTY IDENTIFICATION INFORMATION - Please compleie
                                                                                                 ASSESSMENT. SUPPLEMENTAL.ESCA^ OR CORRECTED NUMBER tciids ono)
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STREET,AODRESSfP.O DOX NUMBER fMUSJb& spphKiils moilutg,aaaiess).          •        ,

crrv                                                        2:pxoo^V^<^^^                       PARCEL NUMBER (II diileiem Irom above)


          ip-punhiF Jt. . . IaLTERNATE PHONE                FAX NUMBER

                                        )                   {        )                          PROPERTY ADDRESS AND/OFiLOCATIOrj;                                    .•   -f-l.                     I ,
E-MAIL ADDRESS



2. AGENT OR >mORNEY FOR APPUCANT                                                                PROPERTY TYPE;

        j/l/, ^e..oTt plV,ni^&                                                                  • Single-Family Resitfence/Condo/Townhouse
                                                                                                n/ipartmenls (Numberof Units                              )
  ^KT ADDRESSfl>.0. BOX NUMBER
STR                                                                                             iD^'rnmerclat/lndustrial              "©-^acanTLand
    P, 0. ATy ]-nO^                                                                             Q Agricullurai                         •     Other
CITY                                                        2IPC0E

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DAYTIME PHONE__ ^ » tl^TERNATE PHONE „ » /--H                                                   4. VALUE                                          A. VALUE                         B. flPPLICAMTS
                                                                                                                                                  ON ROLL                      artmoN ofvaluk
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E-MAIL ADDRESS         , -                   /                                                  LAND                                                                       I'-rb .r^'6'
                                                                                                IMPROVENIENT / STRUCTURES

                               AGENT'S AUTHORIZATION                                            FIXTURES

                                                                                                BUS. / PERSONAL PROPERTY
Ifthe applicant is b corporation, the agent'saulhorization musl be signed by an officer
or authorized emp/oyee oHfte businessentity. Itthe agent is not an attorneylicensedin           TREES & VINES
California or a spouse, cAiW. or parent of the person affected, the following must be           MWERAL RIGHTS
completed(v attached to thisapplication-seeinstructions).
                                                                                                PENALTIES

PRINT NAME OF AGENT AND AG^CY                                                                   NET TOTAL                             /4r55i-( 1
        y. S'a]i r/i"if)y?ey                                                                    5. TYPE OF ASSESSMENT BEING APPEALED (check one)
                                                                                                               IMPORTANT — SEE INSTRUCTIONS FOR FILING PERIODS
is hereby authorized to actas myagentin this application and mayinspect assessor's              S^eguiarAssessment —Value as of January i of the current year
records, enter intost^lations, and otherwise settleissues r^ating to this application.          D Supplemental Assessment                                                                  TAX YEAR

                                        EMPLOYEE
signature OF APPLICANT/OrRCSR/AUTKOReED Ek                                                           Attach 1 copy of Noticeor Tax Bill
                                                                                                     Date of Notice or Tax Bill
"is.          S6€ Qttc{ok,i.of                                                                  •    Roll Change/Escape Assessment/Calamity Reassessment                                   TAX YEAR
TITLE                                                       DATE                                     Attach 1 copy of Notice or Tax Bill
                                                                                                     Dale of Notice or Tax Bill          ^
g THE'FACTS that I RELY UPON TO SUPPORT REQUESTED CHANGES W VALUE ARE ASFOLLOWS: You may check aa lhat apply. Byou are uncertain ol which jlem to cheqjf. please check
"1 OXHfeR' andsllachoneeopyolabfiel explanaljon olyour icasonts) lor filing this applicalion. PLEASE SEE INSTRUCTIONS BEFORE COMPLETING THIS SECTION.
    ' A. Decline In Value: The assessor's roll value exceeds the market value as of                  E. Personal Property/Fixtures: Assessor's value ofpersol^ properiyiand/or
         January 1 of the current year.                                                                 fixtures exceeds market value.                                     ^
          Change in Ownership:                                                                          • 1. All personal property/fixtures.                               ^               "S
          •  1. Nochangeinownership or other reassessable event occurredon the dale                     • 2. Onlyaportion of the personal property/fixtures. Attach d^^ion of those items.
            ^ of
                 Basey^a^v^ej^thecl^^^pjiw^rs
          1m 2. Baseyear,value.for the changajij.wnprship establishedon the dale
                                                                                                • F. Penalty Assessment: Penalty assessment is not justiBe^^                               -•<
                                                                     is incorrect.              •    G. Classification: Assessor's classification and/or allocation of value^iR property is
     C.   New Construction;                                                                             incorrecL                                                           -rs.
                                                                                                                                                                                            c;
          •   1. No new consiiuctionor other reassessable event occurred on the date                 H. Appeal after an Audit: MUST includedescription ol ead^propertyTissues being
                 of,                                                                    •               appealed, and yourofMnion of value. Please refer to instr.ycJions: ,o
          •  2. Base year valueforthe new constructiofl established on the dale ol                      • 1. Amount ofescape assessment is incorrecL              "       .'i c
                                                                         is incorrect
                                                                                                        • 2. Assessment of other property of the assessee at thf^»lion i^^correcl.
•      •. CalamityReassessment: Assessor's reduced value is incorrect for propeny
          damaged by misfortune or calamity.                                                    •    L Othen Explain below or attach explanation.

7. WRITTEN FINDINGS OF FACTS ($256.00 per PARCEL) (DO NOT send with application).                                                 •    Are requested                           not requested

8. 53^es         • No Do you want to designate this application as aclaim for refund? Please refer to instructions Ctrst.
                                                                                        CERTIFICATION

I cedily (or declare) under penalty ol perjury under the laws ofthe State of California thai the foregoing andall information hereon. including any accompanying s/afemerjis or
documents, is tnie. correct, and complete to the besto( my knowledge and beliefand that t am (l) the ownerof the property or the person affected(i.e.. a person having a direct
economic interest in the payment ofthe taxes on that property—The Appiicanf). (2) an agent auHioflzed bythe applicant under Item 2 atlltis application, ot (3) anattorney ftcensed
to practice law in the Stale of C^ifornl^. Slate Bar Mo.        /                , who has been retained by the applicant and has been authorized by that person to file this application
SIGNATURE                                                                                                                                     ✓


>s.                                                                                                 J"^' 1st
NAME AND TITLE (please tyoe or piint)
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                                                                                                                                                              D.FIEGL-000718
   Case 5:15-cr-00034-EXE Document 164-3 Filed 11/06/18 Page 82 of 102


                                                                                08-2 4646




State of Oregon

County of Clackamas                                N                        OFBCIAL 3iIA.L
                                                                        JAWIGE L
                                                   0
                                                                        WOTARV' PUBUC-ORcGON
                                                   T                    COMMISSIOM NO. ^!05295
                                                               MV COMivilSSiGN EXPIRES JULY 14.2010
                                                   A
                                                   R
                                                   Y
                                                       STAMP or SEAL




The attached Application For Changed Assessment, Count}' of Riverside, State of California, was

acknowledged before me this 1st day of December, 2008., by W. Scott Phiiiney.




                                                  NOTARY: Janice Blakeslee


                                                  My Commission Expires: ^                       ^




                                                                                  D.FIEGL-000719
      Case 5:15-cr-00034-EXE Document 164-3 Filed 11/06/18 Page 83 of 102



                                                                                     08        2 4 6 4 6'




                           LlMfTSB- POWER OF ATTORNEY
                      authorisation to represent TaJCPaVER
                          AND/OS^ DSSCLOSg: iNFORA^ATION

TO:     Ail Counr>' Assessment Offices
        Boards of Equalization
        Hearings Officers
        Assessment Appeals Boards
        Department of Revenue
        Other Adminisitative Bodies

 Van Buren Esiaies Partn&rs, l.F. authorizes and appoinls W. Sco« Phiimey, to act as agent with
full aulhority to handle ail mansrs relating to real and personal property- tax assessments and
valuations. This includes, butis not limited to, filing of property tax. appeals or other documents,
e>;amining any records which taxpayer would have a right lo examine, appearing before any
assessment ofBcer, valuation board, hearings officer, Assessment Appeals Board, orStaie Board oi
.Equalization and^discussing assessments and cesolving disputes.concerning the assessments on the
 properL>- before the reviewing body. This authoazation is to take precedence over any pre-exisUTig
authorizations concerning the properties identified below.

Agent shall provide applicant with acopy ofthe application filed with the County.
Years Covered by Authorization:       2008-09

Property Addjess;                     NE Corner ofVan Buren St. and 60 Ave., La Quiiiis., CA
County:                               Riverside

.'^issessor's Pares! Number(s):       759-0.90-001, 759-090-002, 759-090-003,
                                      759-080-008, and 759-080-011




3y:
                                  Jf ^'0^                    Date: '/// /I3^ ./^ S
                                                                                I



        Print l^ame        (

                A4Ar,iA^^                                    File No. 08-924
        Title




                                                                                       D.FIEGL-000720
                    Case 5:15-cr-00034-EXE Document 164-3 Filed 11/06/18 Page 84 of 102


 •eJOE-30£-AH jSl> RcV.E (WO/OB)                                                                         COUNTY OF RIVERSIDE - CLERK OF THE BOARD. P.O. BOX1628.
 APPLICATION FOR CHANGED ASSESSMENT: This iotm contains all the RIVERS!DEjJJA^92502-162B                                                              {951)955-1060
 requests for information that are required for filing an application for Changed                                                                  DO NOT WRITEIKlHl^fACL • ?GR OFFICE USE OMLY
 A'isessmenl. Failure to complete this application may result in rejection of the APPLICATION # 2008
 application and/or denial of the appeal. Applicants should be prepared to
                                                                                                                                "KSA DAT £
                                                                                                                                                             08-^647
                                                                                                                                                              OIV(Of-rlCt
fippMjs^ ^bVcLmiiinrTiunWp': '200824647'                        *                      *'                                                                                                   USE COOc


                                                                                                         IHITIAIS Of CLER                           DATE RgCEIVEO

•I rj                                         DirKHmiW II III
 1. APPLICANT'S NAMEffasl. first, mitfdfe initial)                                          _            3. PROPERTY IDENTIFICATION INFORMATION - Please complele.

   Jin bui'!en f                                                                  I.P.                     AS^SMENT^PPLEMEMTAUESCAKjORCORRECTED
                                                                                                            kSSESS                                     NUMBER (Wdt.one)

^TREETaODRESS/P.O BOXNLR^ER (WSJteapp4rMim3>6i9.a«(eM>.                            .        ^                 1          Z5L-JlK.Q3IiJ^J_- 3
lOO                                                    Ll.-cte, St.fe /ff
                                                                                                          PARCEL NUMBER (II<i<lf6feM tioin above)
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                                               'U
                jf. /I
 OAYTJME PHON^ -,V      0i
                    y. T5ALTERNATE PHONe                            FAX NUMBER

                                          )                         (      )
 E-MAIL AOORESS                                                                                           PROPERTYAODRESSANBJPR LOCATION -                               —/                      1              /}

 2. AGENT OR )OTORNEY FOR APPLICANT
                                                                                                         9fm>                                                                                   J,cyy-
                                                                                                          PROPERTY TYPE:
      n/,                           pk',nne                                                               Q Single-Family Residencfi/CondoTTownhreuse
 STRKT A0DRESSff>.0. BOX NUMBER                   %                                                       n/i^rtmenls (Number ol Units
                                                                                                          •Q^mnveraaVlndustrial                    CS'^aunl Land
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                                                                                                          B AgricuJtural                           Q Otrier
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          Uk^
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                                                                                                          4. VALUE                                          A. VALUE                       B. APPltCANTS
                                                                    m             3J-/52^                                                                    OM nOLU                   OPINION Of VAUIC

 E-MAIL ADDRESS         , •        y\         I
                                                                                                          LAND                                   /cir/'y'y).                   ... f.. .
                                                                                                          WPROVEMEMT/STRUCTURES
                                   AGENT'S AUTHORIZATION                                                  FIXTURES

                                                                                                          BUS. 1 PERSONAL PROPERTY
 // the applicant is a corporation, the sgent's authorization must be signeil by on oltlcar
 or 8ur/tontzed employee of the business entity. IIIhe agent is not an attorneylicensed in                TREES & VINES
 California or a spouse. chHti. or parent of the person affected, the lollomngmi/sJ 6e
                                                                                                          MINERAL RIGHTS
 completed (orattached tothis ap^ation-see mstrucf/onsj.
                                                                                                          PENALTIES
 PRINT HAME OF AC56NT AND AGE«CY
                                                                                                          NET TOTAL                                                                  f^Ci/.CCC
      h/' Scofl Pji\irt >iey                                                                                               IMPORTANT — SEE INSTRUCTIONS FOR FILING PERIODS
 is heretjy authorized to act as my agent in this appltation and may inspecl assessor^                          Regular Assessment — Valueas of January 1 of the cufteni year
 records, enter Into sttptAalions. and otherwise settle issues relating to this applicBlion.              O Supplemental Assessment                                                             TAX YEAR
 SIGNATURE
         tE OF APPLICANT/OFFICERrAUTHORIZE
               APPLICANT/OFFICERrAUTHORIZEDEMPLOVEE                                                            Attach 1 copy of Notice Pr Tax Bill
              see qfttjckM                                                                                •
                                                                                                               Date of Noticeor Tax BUI
                                                                                                               Rob Change/Escape Assessment/Calamity Reassessment                               TAX YEAR
                                                                    DATE
                                                                                                               AUad) 1 copy of Notice or Tax Bill
                                                                                                               Date ol Notice or Tax B'ifl
 6. TH^ FACTS THAT I RELY UPON TO SUPPORT REQUESTED CHANGES IN VALUE ARE AS FOLLOWS" Yeumoy chacfc all lhal agply Hyou ate ttfgenam el wtwSS^w lO^iCBcfc. please cTgck
 •I OJ>«R- ana«tach onecopy ola omfoplansliono« yowfoason{s) loflifcna IhU Bpfltoloa PLEASE SEE INSTRUCTIONS BEFORE COMPLETING THIS SECTION »
     A. Decline In Value: The assessor's roil value exceeds the market value as of                             E. Personal Property/Fixtures: Assessor's value o( person^ proi^yand/or
        January 1 of the current year.                                                                              fixtures exceeds market value.                               i"n          :c»
     B. Change in Ownership:                                                                                        • 1.An personal property/fixtures.                           ^            ' :H
          •   1. Nochangeinownership Of otherreassessabie eventoccurred on thedate                                  • 2. OnlyapoiDon of the personal propertyrnxtures Attai^i^escnptlpr^ofthose items.
          0^ Basey| 3y^e^fOTthe
             Base y^sr,v3)ue;,foj; Ihe cbjn^i^w^rs
                                       cb9nQe.io pwD^rship estaotished on the date                        •    F. Penalty Aseessmoiit; Penalty assessment is nol justified.
                                                                                  Is InconBcl.            • G. Classlficallon: Assessor's classification and/or altocati^bf vahiof properly is
     C.   New Construction:                                                                                         incorrect
          •   1. No new constfoction or other reassessabie event occurred on the date                          H Appeal after an Audit: H/IUST include descripiion ol eaCtWope^issues t>eing
                 ol                                                                                              appealed, and your opinion •( value. Please refer to insfnH-iionsr^
          •   2. Base yearvaluefor(he new consUuction establislied on the dale ol
                                                                                  B incorrect.                      O 1. Amount of escape assessment ISincorrect
      0. Calamity Reassessment: Assessor's reduced valueis incorrect for property                                   •     2. Assessment ofottier property oftheassessue atthelocaiion ^utcorrecl.
          oamageo by misfortune or calamity.                                                              •    I.   Other: Explain below or attach explanation

    WRITTEN FINDINGS OF FACTS ($256.00 per PARCEL) (DO NOTsend wiUi application).                                                               DAre requested                Ip^re nol requested
 8. Q^es Q No Do you waril to designate this application as aclaim (or refund? Please refer to lnslructior>s first.
                                                                                                CERTIFICATION
 I certify {ot (^lare) under penalty ofperjury under the laws of the Slateof Calilomla.lhat the lotegoing and allinformation hereon. including any accompanying statements or
 documents, is true, cotreci. andcomplete lothebestofmy luiowledge andbelief andthat i am(i) tue owner ol theproperty or theperson affected (i.e\ a person havmg a direct
 economic interesi infnepay/nenf ofIhetaxes onthatproperty—The AppHcanf}, (2) anagent autlwrusd bytheappricant undei Item 2 olthis at^iUcalmn o/ (3) an atlorney licensed
 10 practice law in the Sl3t& of California. Sinle^Bfr No                         • . whohas been retoiiwil orIhe applicani and has been authomed by ina; netson to file this oppBcalior,
 SIGNATURF
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                                                                                                           SIGJ<Ei..A-             CITY                          STATE                           "         ,.
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          . 3'c^>Tr r                         / ^                                                   • AtloriKfy 3t>poinj<f         Rn{)u.lRi«o tJOiniisir.:Piiftiic- •                  • ^eiscNiAUacivO




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  Case 5:15-cr-00034-EXE Document 164-3 Filed 11/06/18 Page 85 of 102




                                                                                08-24647




State of Oregon             )
                            )
County of Clackamas         )                     N
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                                                         MY COK?MISSION EXPiRL-SNO.  406295
                                                                                 .ilU.Y 14.22010
                                                  Y
                                                      STAMP or SEAL




The attached Application For Changed Assessment, County of Riverside, State of California, was

acknowledged before me this 1stdayof December, 2008, by W. Scott Phinney.




                                                                            2&L L£<au
                                                  NOTARY: Janice Blakeslee


                                                  My Commission Expires:                  ^' 2.^ 10




                                                                                          D.FIEGL-000722
 Case 5:15-cr-00034-EXE Document 164-3 Filed 11/06/18 Page 86 of 102




                                                                                0 8-24647


                          LIMITED POWER O? ATTOR.NEY
                     AUTHORIZATION TO REPRESENT TAXPAYER
                         AND/OR mSCLOSE INFORMATSON

TO:    All County A-ssessment Offices
       Boards of Eauali/cation
       Hearings Officers
       Assessment Appeals Boards
       Department of Revenue
       Other Adminisirative Bodies


VanSuren Esiaies Partners, L.P. authorizesand appoints W. Scott Phinney, to aci as agent with
full auih0Tii>' to handle all matters relating to real and ^rsonai property tax assessments and
valuations. This includes, but is not limitedlo, filing of property tax appeals or other documents,
examining any records which taxpayer would have a right to examine, appearing before any
assessment officer, valuation board, hearings officer, Assessment Appeals Board, or State Board of
Equalization anddiscussing assessments and resolving disputes concerning the assessments onthe
property before thereviewing body. Thisauthorization isto take precedence overany pre-existing
authorizations concerning the properties identified below.

Agent shall provide applicant with a copy of the application filed with the County.

Years Covered by Authorization:       2008-09

Property Address:                     NE Comer ofVan Buren St. and 60'^ Ave., LaQuinta, CA

Count\':                              Riverside

-Assessor's Parcel Number(s):         759-09.0-001, 759-090-002, 759-090-003.
                                      759-080-008, and 759-080-011




By:
               //                                            Date: // /            }oB>
                                                                        /      /


        Print Name         /

               AA                •                           File No. 08-924
       Title




                                                                                          D.FIEGL-000723
   Case 5:15-cr-00034-EXE Document 164-3 Filed 11/06/18 Page 87 of 102




DOZIER'S $16.3M APPRAISAL 1^1/D9                           EXmBITie


                                                           D.FIEGL-000724
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                       SUMMARY REPORT FORMAT

               "AS IS" MARKET VALUE IN LEASE FEE ESTATE
                                        OF

                  163.87 ACRES OF VACANT LAND WITH
  APPROVED TENTATIVE TRACT MAP # 34556 FOR 301 RESIDENTIAL LOTS
                            LOCATED ON THE
      NORTHEAST CORNER OF AVENUE 60 AND VAN BUREN STREET
                                        IN
                           THERMAL, CA 92274
                APN: 759-090-001,002,003 & 759-080-008, Oil
                        RIVERSIDE COUNTY, CA


                 EFFECTIVE DATE OF THE APPRAISAL

                           NOVEMBER 30,2009


                         DATE OF THE REPORT


                            DECEMBER 1,2009


                   DOZIER FILE NUMBER L-09-135-LB



                             PREPARED FOR


                           MR.TOMLODATO
                     846 PORTOLA ROAD, SUITE J
                 PORTOLA VALLEY, CALIFORNU 94028


                                      BY



                         Raymond L. Dozier, MAI
                    DOZIER APPRAISAL COMPANY
                        PALM DESERT, CA 92260




                             DozierAppraisal Company
                              Palm Desert, California



                                                              D.FIEGL-000725
   Case 5:15-cr-00034-EXE Document 164-3 Filed 11/06/18 Page 89 of 102




                                DOZIER APPRAISAL COMPANY
                                   Resort and Urban Property Appraisers
                                     Valuation and Financial Consultants


                                            73-350 EL PASEO, SUITE 206
                                        P.-VLM DESERT, CALIFORNIA 92260


RAYMONDL. DOZIER, MAI                                                                  -rpi /7^\ n/iA'ynn

LICENSE #AG004590                                                                      FAxU77«™
                                                                           E-MAIL Dozierappiaisal@dc.ir.com

  December 1,2009

  Mr. Tom Lodato
  846 Portola Road, Suite J
  Portola Valley, California 94028

  RE:     "As Is"Market Value Appraisal of163.87 Gross acres ofvacant land with approved
         tentative tractmapfor 30} residential lots located onthe Northeast Corner ofAvenue 60
         and Van Buren Street in Thermal, California 92274.


  Mr. Lodato:


  Enclosed isan appraisal I have made ofthe "As Is" Market Value ofthe Real Property Interest
  of 163.87 Gross acres ofvacant land with approved tentative tract map for 301 residential lots
  located onthe Northeast Comer ofAvenue 60 and Van Buren Street inThermal, Califomia
  92274. This appraisal was made at the request andagreement between Mr. Tom Lodato and
  Dozier Appraisal Company. This report is intended foruse only byMr. Tom Lodato. Use of
  this report by others is notintended by the appraiser.

  The pxirpose of this appraisal is to estimate and report my opinion of the "As Is" MARKET
  VALUE of the subject*s REAL PROPERTY INTEREST in 163.87 Gross acres of vacant land
  with approved tentative tract map for 301 residential lots as if sold toa single purchaser asofthe
  appraiser's date ofviewing November 30, 2009 . In the "As Is" scenario, the property will be
  appraised a whatever stage ofdevelopment (entitlement) as ofthe effective date ofthe appraisal,
  November 30,2009. All elements ofa MARKET VALUE sale are tobepresent in terms ofthe
  price upon which a willing and well-informed seller and a willing and well-informed buyer
  would agree, in the absence of any unusual compulsion on either, and reasonable exposure on
  the open and competitive market. Reasonable exposure time in MARKET VALUE estimates
  precedes the specified date(effective date) of the appraisal. MARKET VALUE also assumes an
  open and competitive market ofthe property interest being appraised. The use ofthe appraisal is
  to establishing collateral or possible financing.

  The property rights appraised establish the LEASE FEE Interest of all future benefits that may
  be derived from the property's present or possible use, except for existing easements, rights-of-
  way ofrecord and existing lease.


                                           DozierAppraisal Company
                                            Palm Desert, Califomia


                                                                                   D.FIEGL-000726
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Page 3 of3
Mr. Tom Lodato
To make this appraisal, Raymond L. Dozier, MAI, has made apersonal viewing ofthe subject
property. He has reviewed sales ofcomparable properties and has weighed and compared this
datato arrive at his estimate of value forthesubject property. The effective date of this
valuation is November 30,2009.

This report is subject tothe enclosed Assumptions and Limiting Conditions and the Certification
ofValue and The Scope and Extent ofthe Data Collection Process on this report.
The appraisal ismaking the following extraordinary assumptions, hypothetical conditions, or
major highest and best conclusions:

    • The subject property has anapproved tentative tract map which subdivides the property
      into 301 residential lots. Conversations with the County ofRiverside planning
      department indicated that it would take approximately 12 months to complete the
       entitlement process andobtain final tractmapapproval. (Highest andBestUse
        Conclusion)

    • There is a reasonable probability that Avenue 59will never extend through any portion of
      thesubject property and any development of this roadway has effectively been
      abandoned bythe County of Riverside. (Highest andBest Use Conclusion).

    • Thesubject property is currently improved witha working horse ranch. Thehighest and
      best use analysis indicated thatany income derived from the current lease onthesubject
      property's horseranch, willbe off-set by the costof demolition leaving no contributory
      valueof the currentimprovements. (Highest andBest Use Conclusion).

Otherwise thereare no extraordinary or special assumptions regarding this appraisal. Also, this
letter oftransmittal is not the completed appraisal report but a statement ofvalue conclusions.
Users of this appraisal are encouraged to readthe completed attached report to reach the
appraiser's conclusions via the appraisal process.

This letter of transmittal is not the complete appraisal report but a statement of value
conclusions. Users of the appraisal are encouraged to read the completed attached report to
reach appraiser's conclusions via the appraisal process.
The intention of this appraisal reportis to comply fully withFIRREA appraisal guidelines, as
wellas the current Uniform Standards of Professional Appraisal practice (USPAP) adopted by
the Appraisal Standards Board ofthe Appraisal Foundation; and the requirements ofthe Code of
Professional Ethics and Standards ofProfessional Practiceofthe Appraisal Institute. The
departure provision in USPAP shall not apply to this appraisal.
The undersigned does not have anypersonal interest, either present or contemplated, in the
subject property andcertifies that fees, received or to be received, forthe employment of my
services are not contingent onthe opinions reported hereiiL In addition, the undersigned meets
theCompetency Provision Standard (1. la,b,c) as required byUSPAP and has the knowledge and
experience to complete the assignment competently.


                                       Dozier AppraisedCompare
                                        Paint Desert, California



                                                                               D.FIEGL-000727
 Case 5:15-cr-00034-EXE Document 164-3 Filed 11/06/18 Page 91 of 102



 Page 3 of 3
 Mr. Tom Lodato
 Therefore, based upon my investigation and analysis of the data gathered with respect to this
 assignment, I have formed the opinion that "As Is" Market Value (Partially Entitled) of the
 Lease Fee interest in the subject's 163.87Gross acres of land, as of the effective date November
30,2009, is measured in the amount of:

                       $16,300,000^ ($54,153/paperlot or $99,469/Gross Acre) ^


               (SIXTEEN MILLION THREE HUNDRED THOUSAND DOLLARS)
                 Reasonable exposure time necessary tosell this property toa single purchaser prior
                              to the date of this appraisal is estimated 10 to 12 months.




Respectfully submitted,
DOZffiR APPRAISAL COMPANY




Raymond L. Dozier, MAI
State Certified General Real Estate Appraiser
CA. Cert No. AG004590
RLD/lhp (Word\L-09-135-LB_163.87 Gross AC ofLand_Thermal.doc)




' The reader will note that theappraiser estimated a marketing lime of 10 to 12months after thedate ofthis
appraisal. Consequently, due to current negative market conditions, if the property must be sold prior to this 10to
12month marketing period afterthedate of this appraisal, thesales price would be considered a liquidation value
which could be significantlyless than the appraisedmarket value.

2Above values are based on hypothetical conditions, extra ordinary assumptions, and/or major highest and best use
conclusions found intheletter oftransmittal. If any ofthese hypothetical conditions, extraordinaiy assumptions,
and/or major highest and bestuseconclusions prove to be false; theestimated values could be highly impacted.




                                               DozierAppraisal Company
                                                Palm Desert, California



                                                                                              D.FIEGL-000728
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DEPO TOM LODATO taken 5/17/11 in Stewart Title litigation   EXfflBIT 17


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 Thomas Lodato
                                                                            May 17,       2011

                    SUPERIOR COURT OF THE STATE OF CALIFORNIA
        IN AND FOR THE COUNTY OP RIVERSIDE - INDIO DIVISION


   VAN BUREN ESTATES, LLC, a
   Limited Liability Company; VAN
   BUREN ESTATES II, LLC, a
   Limited Liability Company,- VAN
   BUREN ESTATES PARTNERS, LP, a
   California Limited Partnership,
                      Plaintiffs,

         vs.                                             Case No.    INC 10002614

   STEWART TITLE OF CALIFORNIA,
   INC., a Corporation;
   STEWART TITLE GUARANTY COMPANY,
   a Corporation, and
   DOES 1 through 20,

                     Defendants.




      DEPOSITION OF PERSON MOST KNOWLEDGEABLE OF VAN BUREN
                                           THOMAS LODATO

                                           MAY 17,   2011

                                             9:35 a.m.




                            555 California Street, Suite 2000
                                San Francisco, California




                                  Rebecca L. Romano, CSR-12546


                                                                    Toll Free: 877.342.5600
                                                                    Facsimile: 310.286.0276

                                                                                 Suite 500

ESQUIRE aaAlcua^crGaUaCsmjuiijr
                                                                   1875 Century Park East
                                                                    Ijos Angeles, OA 90067
                                                                 www.esquiresolutions.com


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      Thomas Lodato                                                                    May 17,       2011
                                                                                                           60

 1                               THE DEPONENT:              Yes.

 2                              MR.             RICE:   Thank you.

 3                               THE DEPONENT:              Uh-huh.

 4                              MR. RICE:               Personal knowledge, if you had an
 5      opinion.

 6                              THE DEPONENT:               At the time I   received this

 7      appraisal. Exhibit 5, dated Deceitiber 1st, 2009, I was
 8      surprised the value was as high as it indicates in
 9      here.

10                               I, based on my knowledge at the time of what
11      properties were selling for, would have thought it
12      would be two-thirds or less of this figure.
13              Q.               (By Mr. Lin)             So your opinion is it would

14      have been two-thirds or less of $16,300,000?

15              A.              Correct.

16              Q.              Okay.              In your dealings with Stewart Title of
17      California relating to the Van Buren property, did you
18      from time to time request preliminary reports?
19              A.              Yes.

20              Q.              Okay.             And who did you talk to to request
21      preliminary reports?
22              A.              Well, it was usually Patty McHugh.
23              Q.              Did you talk to anyone else to request
24      preliminary reports?
25              A.              Sometimes I would -- I would get one of her


                                                                                Toll Free: 877.342.5600
                                                                                Facsimile: 310.286.0276

                                                                                             Suite 500

     ESQUIRE    »ti Alix-jBiluCaliuCuffliiaby
                                                                                 1875 Century Parl< East
                                                                                 Los Angeles, CA 90067
                                                                               www.esqulresolutions.com



                                                                                    D.FIEGL-000731
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PENAL CODE SECTIONS 484 and 532a                           EXHIBIT 18



                                                           D.FIEGL-000732
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 California Penal Code:
 484. (a) Every person who shall feloniously steal, take, carry,
 lead, or drive away the personal property of another, or who shall
 fraudulently appropriate property which has beenentrusted to him or
 her, or who shall Imowingly and designedly, by any false or
 fraudulent representation orpretense, defraud any other person of
 money, labor orreal or personal property, or who causes orprocures
 others to report falsely ofhis or her wealth or mercantile character
 and by thus imposing upon any person, obtaios credit and thereby
 fraudulently gets orobtains possession ofmoney, orproperty or
 obtains thelabor or service of another, is guilty of theft. In
 determining the value ofthe property obtained for the purposes of
this section, the reasonable and fair market value shall be &e test,
and indetermining the value ofservices received the contract price
shall be the test. If there be no contract price, thereasonable and
going wage for the service rendered shdl govem. For the purposes
of this section, any false orfraudulent representation orpretense
made shall be treated as continuing, so as to cover any money,
property or service received as a result thereof, and the complaint,
information or indictment may charge that the crime was committed on
any date during the particular period inquestion. The hiring ofany
additional employee oremployees without advising each ofthem of
every labor claim due and unpaid and every judgment that the employer
has been unable to meet shall be prima facie evidence of intent to
defraud.

California Penal Code:
532a. (I) Any person who shall knowingly make or cause to be made,
either directly or indirectly or through any agency whatsoever, any
false statement inwriting, with intent that itshall be relied upon,
respecting the financial condition, ormeans orability to pay, of
himselforherself, orany other person, firm orcorporation, inwhom
he or she is interested, or for whom heorshe is acting, for the
purppse ofprocuring in any form whatsoever, either the delivery of
personal property, the payment of cash, the making of a loan or
credit, the extension of a credit, the execution of a contract of
guaranty or suretyship, the discount of an account receivable, or the
making, acceptance, discount, sale or endorsement of a bill of
exchange, or promissory note, for the benefit ofeitherhimself or
herself or ofthat person, firm orcorporation shall be guilty ofa
public offense.




                                                                        D.FIEGL-000733
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(Penal Code section 532a continued)

  (2) Any person who knowing that a false statement in writing has
been made, respecting the financial condition or means or ability to
pay, of himself or herself, or a person, firm or corporation in which
he or she is interested, or for whom he or she is acting, procures,
upon the faith thereof, for the benefit either of himself or herself,
or ofthat person, firm or corporation, either or any ofthe things
of benefit mentioned in the first subdivision of this section shall
be guilty of a public offense.
  (3) Any person who knowing that a statement in writing has been
made, respecting the financial condition or means or abilityto pay
ofhimself or herself or a person, firm or corporation, in which he
or she is interested, or for whom he or she is acting, represents on
a later day in writing that the statement theretofore made, if then
again made on said day, would be then true, when in fact, said
statement if then made would be false, and procures upon the faith
thereof, for the benefit either of himself or herself or of that
person, firm or corporationeither or any ofthe things of benefit
mentioned in the first subdivision of this section shall be guilty of
a public offense.
  (4) Any person committing a public offense under subdivision (1),
(2), or (3) shall be guilty of a misdemeanor, punishable by a fine of
not more than one thousand dollars ($1,000), or by imprisonment in
the coimtyjail for not more than six months, or by bolh that fine
and imprisonment Any person who violates the provisions of
subdivision (1), (2), or (3), by using a fictitious name, social
security number, business name, or business address, or by falsely
representing himself or herself to be another person or another
business, is guilty of a felony and is punishable by a fine not
exceeding five thousand dollars ($5,000) or by imprisonment pursuant
to subdivision (h) of Section 1170, or by both that fine and
imprisonment, or by a fine not exceeding two thousand five hundred
doUars ($2,500) or by imprisonment in the coimty jail not exceeding
one year, or by both such fine and imprisonment.
  (5) This section shall not be construed to preclude the
applicability of any other provision ofthe criminallaw ofthis
state which ^plies or may apply to any transaction.




                                                                        D.FIEGL-000734
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WARREN & ASSOCIATES APPRAISAL done JULY2010                EXHIBIT 19


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                                                                         WARREN ^ASSOCIATES. INC.
                                                                               RIAL ESTATE AmiAlSERS AND CONSULTANTS




 COMMERCIAL

 July 12.2010

 Mr. George Fiegl
 GF Ventures
 401 National Avenue
 Mountain View, California 94043


 RE:     APPRAISAL OF THE VAN BUREN ESTATES, A PROPOSED 301 LOT
         RESIDENTIAL   SUBDIVISION,   LOCATED IN AN  UNINCORPORATED
         COMMUNITY OF RIVERSIDE COUNTY NEAR THE CITIES OF COACHELLA
         AND LA QUINTA, CALIFORNL\ 92274

Dear Mr. Fiegl:

At your request, we have inspected and appraised the above-referenced property. The purpose of this
appraisal is to estimate the following values:

    •    Market Value "as-is";
    •    Prospective Market Value of 301 Lots at Completion, and
    •    RetrospectiveValue of the Subject Parcels, as of December, 2007.

The appraised values are subject to the definition of market value, the assumptions and limiting
conditions and the certification contained in the attached report. The interest appraised are those of
the fee simple estate.

The subject property is part of The Van Buren Estates, a proposed residential subdivision located in
an unincoiporafed area of Riverside County near the cities of Coachella and La Quinta, California.
Van Buren Estates is proposed to include 301 detached single-family homes situated onlots ranging
in size from 10,000 to 17,116 squarefeet.




            976 Main Street, Suite B Ramona, California 92065- Phone; 760 788>I048 Fax: 760 788-0425


                                                                                             D.FIEGL-000736
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 Mr. George Fiegl
 GF Ventures
 July 12,2010
 Page Two

 The subject property includes $37,717.29 of delinqueyit taxes/fees and penalties, according to the
 Riverside County Treasurer-Tax Collector. The value condition ofthis appraisalassumes payment of
 all delinquenttaxes/fees bythe seller.

 This appraisal has beendeveloped in conformance withour interpretation of the CodeofProfessional
Ethics and Standards of Professional Practice set forth by the Appraisal Institute and all binding
requirements of the Unifoim Standards of Professional Appraisal Practice (USPAP) adopted by the
Appraisal Foundation, the appraisal standards for the Federal Deposit Insurance Corporation (FDIC),
Office of the Controller of the Currency (OCC), the Office of Thrift Supervision (OTS), and the
appraisal requirements of GF Ventures.

This is a self-Contained appraisal report, which is intended to comply with the reporting requirements
set forth under Standards Rule 2-2(A) of USPAP for a self-contained appraisal report. The depth of
discussion contained m this report is specific to the needs of the client and for the intended use stated
below. The appraiser is notresponsible for unauthorized useof this report.

Based on the analysis and conclusions presented in the attached report, it is our opinion the market
value ofthe subjectpropertyis as follows:

1) The estimated "ay-ty" market value ofthe fee simple interest inthe subject, asofJune 10,2010, is;

                                              $2,460,000




2) The estimated **prospective" market value at completion of the 301 subject lots, assuming
   completion tofinished lot condition excluding fees atbuilding permit, and assuming the lots ar« sold
   to a smgle buyer, as ofJune 10,2010 (hypothetical value), is:

                                             $8,125,000




                                                                                    D.FIEGL-000737
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 3)   The estimated **retrospective'* marketvalueofthe subjectproperty, as of December, 2007,is:


                                              $6,555,000




The following report contains a study and analysis ofdata and other material upon which the opinions of
value are partiallypredicated.

Respectfully submitted,

WARREN & ASSOCIATES, INC.




         T. Warren, MAI, SRA
'^California State Cert. No. AGO19776




                                                                                    D.FIEGL-000738
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COMPLAINT/jUDGEMEOT/NEWS RELEASE - REIMAR                  EXHIBIT 20



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